Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 1 of 94 Page ID #:42




                                                EXHIBIT A
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 2 of 94 Page ID #:43




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        6

        7
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
        8
                                            COUNTY OF LOS ANGELES
    9

   10

   11       ORTT ARFA, an individual,               ) CASE NO.                  3C50 3 g 6
   12                      Plaintiff,               ) COMPLAINT FOR:
   13              vs.
                                                             WRONGFUL TERMINATION

   14       ZIONIST ORGANIZATION OF                 j •CIVIL CONSPIRACY
   35
            individual; and DOES 1through 20, )              EMOTIONAL DISTRESS
   16
            incJuSiVe'                              )      . NEGLIGENT INFLICTION OF
   17
                                                             EMOTIONAL DISTRESS
                           Defendants.
   18
                                                           • UNFAIR BUSINESS PRACTICE

   19
                                                        DEMAND FOR JURY TRIAL
   20

   21              COMES NOW Plaintiff ORIT ARFA ("ARFA" or "Plaintiff), and alleges causes of
   22       action against Defendants and DOES 1-20, and each ofthem, as follows:
   23

   24                                    JURISDICTION AND VENUE

   25              1.     This action arises out of Plaintiff ARFA's employment by Defendants as the

   26       Executive Director ofthe Western Region ofthe ZIONIST ORGANIZATION OF
   27       AMERICA, located at the time at 6505 Wilshire Boulevard, Los Angeles, California. She
   28       was hired and eventually fired within this judicial district.
                                                           -l-


                                                    COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 3 of 94 Page ID #:44




        1           2.     This Court has jurisdiction over this unlimited action because the damages
       2     alleged by Plaintiffexceeds $25,000, thejurisdictional limits of this Court.
    3

    4               3.     Venue is proper in this District because the complained of actions occurred in
    5       this judicial district, and, during the relevant times herein, primary Defendant ZIONIST
    6       ORGANIZATION OF AMERICA maintained an office in this district.

    7

    8                                           THE PARTIES

    9              4.      Plaintiff ORIT ARFA is, and at all times mentioned herein has been, an

   10       individual residing in Los Angeles, California.
   11

   12              5.     Plaintiff is informed and believes, and based thereon alleges, that Defendant

   13       ZIONIST ORGANIZATION OF AMERICA ("ZOA"), is, and at all times relevant herein

   14       was, a not-for-profit New York corporation, except that effective May 2011, the ZOA's
   15       federal tax exempt status was revoked bythe Internal Revenue Service. The ZOA is
   16       headquartered at4 East 34ft Street, New York, New York, and, during the relevant times
   17       herein, maintained the office of its Western Region at 6505 Wilshire Boulevard, Los
   18       Angeles, California.
  19

  20               6.     Plaintiff is informed and believes, and based thereon alleges, that Defendant

  21        MORTON KLEIN ("KLEIN") is, and at all times relevant herein has been, an individual
  22        residing in Pennsylvania, and the National President ofthe ZOA. KLEIN regularly travels
  23        to and conducts business in Los Angeles in the course of his duties as National President.
  24

  25               7.     Plaintiff is informed and believes and based thereon alleges that Defendants,

  26        DOES 1 to 20, and each of them, were business entities, organizations, and/or individuals
  27        who participated inthe acts alleged in more particular detail hereinafter.
  28



                                                   COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 4 of 94 Page ID #:45




                     8.     Defendants named herein as DOES 1-20, inclusive, are named pursuant to
        2     California Code ofCivil Procedure §474. The names and capacities ofthe DOES 1-20, and
        3     each ofthem, are unknown to Plaintiff who is ignorant oftheir true identities. Additionally,
        4     the specific acts giving rise to the causes of action alleged against said DOE defendants are
        5    unknown to Plaintiff, who therefore sues them by such fictitious names. This Complaint
        6    will be amended to show the true names and capacities of the DOE defendants, and each of
        7    them, when ascertained.

       8

       9            9.     Plaintiff is informed and believes, and on that basis alleges, that at all times
   10        mentioned herein, the Defendants and DOES 1-20, and each of them, were the agents,
   11        servants employees, subsidiaries, and representatives of each remaining Defendant, and in
   12        doing the things alleged in this Complaint were acting within the course, scope, purpose and
   13        authority of that agency, representation and employment. Therefore, Plaintiff invokes the
   14        doctrines of agency liability, respondeat superior and vicarious liability. Plaintiff alleges on
   15        information and beliefthat the Defendants acted together in concert to cause damages to
   16        Plaintiff, and each committed all or part of the below-described acts which caused harm to
   17        Plaintiff and each aided and abetted other Defendants in the commission of those acts.
   18

  19                                        FACTUAL BACKGROUND

  20               10.    On or about September 15, 2011, Plaintiff ARFA accepted an offer of
  21        employment from Defendant ZOA to serve as ZOA's Western Region Executive Director,
  22        and began her position on or about October 24, 2011.
  23

  24               11.    ARFA served in this position for approximately one year, performing her
  25        responsibilities admirably and garnering praise for her dedication, passion, energy,
  26        professionalism, organizational skills and results from ZOA leadership, majordonors and
  27        members of the community with whom she worked.
  28



                                                   COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 5 of 94 Page ID #:46




           1            12.     On our about February 22, 2012, ZOA was informed by the IRS that its not-
        2       for-profit (and, by extension, its tax exempt) status had been revoked, retroactive to May
        3       2011, for failure to file the necessary Form 990s for three consecutive years. Plaintiff
        4       alleges on information and belief that one of the reasons the ZOA failed to file these forms
        5       was that KLEIN did not want to disclose the compensation he was receiving during those
        6       years as the ZOA's President (an average of over $1 million per year for those years
        7       including base salary, deferred compensation and other benefits). This compensation was
       8        grossly unreasonable compared to the compensation received by national presidents of
       9        comparable non-profit organizations.
   10

   11                  13.     KLEIN informed select members of ZOA's Board of Directors of the loss of
   12           ZOA tax-exempt status by telephonic conference call and retained tax counsel for ZOA.
   13          ARFA (along with the other Regional Directors) were not informed of this development
   14          until mid-March 2012.

   15

   16                 14.     On or about March 28, 2012, ZOA's National Executive Director David
   17          Drimer sent an email to ARFA and other Regional Directors regarding the loss of ZOA's tax
   18          exempt status. In the email, he instructed the recipients not to "broach this subject with
   19          donors unless it is absolutely necessary or they ask about it specifically." He also included a
  20           list of "talking points" on the issue and an alternative means by which tax-deductible
  21           donations can still be made to ZOA, through the Foundation for the Jewish Community
  22           (FJC), a non-profit holding organization which would preserve all donations earmarked for
  23           ZOA until such time, if any, that the ZOA regains its tax exempt status. (A copy of the
  24           email with attachments is attached hereto as Exhibit A and incorporatedherein by
  25        reference.)

  26

  27                 15.      Defendants' scheme to disguise the loss of ZOA's tax-exempt status included
  28        setting up a fund ("ZOA Donors Fund") through a non-profit called the Foundation for the
                                                            -4-

                                                     _ _ _ _ _ _ _ _ _
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 6 of 94 Page ID #:47




              Jewish Community (FJC) into which donors could make tax-deductible donations
              earmarked for the ZOA. The FJC would hold these funds aside until such time, if any, that
              the ZOA regains its non-profit status. The FJC would charge a 2% automatic deductionon
              each donation, plus an additional 1% annual fee as long as it held the funds. Potential
              donors were not told of the details of this arrangement, including that the FJC was an
              entirely different organization not affiliated with the ZOA and that donations made to the
        7    FJC might never be made available to the ZOA, but ARFA and other ZOA directors were
       8     told to instruct donors to make all their contribution checks to the ZOA thorugh the FJC, for
       9     example by writing "FJC - ZOA Donors Fund" as payee. Also, the ZOA website's "Donate
   10        to ZOA" button rerouted donors to a Paypal page for "FJC - A Foundation of Philanthropic
   11        Fund, Reference: ZOA Donor Fund."

   12

   13                16.        Regional directors were not instructed to remove the tax exempt or 501(c)(3)
   14        designation on their region's website at that time, and, in fact, many regional websites
   15        continued to misrepresent that the ZOA was a tax-exempt 501(c)(3) charity for months after
   16        that.

   17

   18                17.       Following the Drimer email, AREA complied with ZOA's talking points in
   19       connection with her fund-raising efforts, despite her feeling of unease about the ethics of
  20        doing so. However, she informed ZOA's management that she felt uncomfortable not being
  21        up front with potential donors.
  22

  23                 18.       In response, KLEIN began calling her on her cell phone at all hours of the day
  24        and night to berate her, increasing pressure on her to fund-raise. Plaintiff is informed and
  25        believes that she was being inordinately pressured to raise funds in part to compensate for
  26        the decline in fundraising from KLEIN himself and in part to retaliate against her insistence
  27        on disclosing the loss of tax exempt status. Since the disclosure of the loss of ZOA's tax
  28        exempt status in mid-March, the budgets allocated to the regions from the national
                                                             -5-


                           _                          COMPLAINT                                       ~
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 7 of 94 Page ID #:48




        1 organization were cut, due to the decrease in contributions. This led to the forced
        2 cancellation ofsome events and programs. Despite the additional budgetary restrictions,
        3 KLEIN continued to receive his full salaryand benefits, which totaled over one million
        4 dollars annually, much larger than that earned bypresidents of comparable organizations.
        5 The public and potential donors were not aware of KLEIN's grossly excessively salary
       6 because the ZOA failed to file the necessary information returns with the Internal Revenue
       7    Service for several years. Such filings would have disclosed the full extent of his
       8    compensation.
       9

   10              19.    KLEIN's telephone calls became increasing abusive, to the point that ARFA
   11       became anxious every time her cell phone would ring. At about this time, ARFA began to
   12       address with a therapist her anxiety from KLEIN's continual harassment.
   13

   14              20.    KLEIN also informed ARFA that she was no longer to report to her previous
   15       immediate supervisor, Steve Goldberg, the National Vice Chairman of the ZOA and
   16      Chairman of the Los Angeles Chapter, but instead to KLEIN himself. Furthermore, KLEIN
   17      told ARFA that she must have all communications with the public, including publications,
   18      press releases and emails, pre-approved by KLEIN.
  19

  20              21.    On or about July 30,2012, Seton & Associates, an outside law firm retained
  21       by Goldberg to research the matter, issued a memorandum ("Seton Memorandum" attached
  22       hereto as Exhibit B) opining thatZOA's tax-exempt status was clearly material to any
  23       potential donor, and that the efforts of ZOA, in general, and KLEIN, in particular, to conceal
  24       its loss was "inexcusable," potentially exposing ZOA to claims for breach of fiduciary duty
  25       and fraud by donors. It further found that KLEIN had fostered an organizational climate
  26       that discourages discussion and dissent, and that he and the Board had failed to exercise
  27       proper oversight, comparing this case to that of Penn State and Jerry Sandusky.
  28




                                                 COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 8 of 94 Page ID #:49




                   22.    The Seton Memorandum was subsequently distributed to the entirety of
       2    ZOA's Board of Directors, at which point many board members first discovered of the loss
       3    of ZOA's tax exempt status. At least one board member resigned from the board upon
       4    hearing the news and finding out that KLEIN had known about the loss, but had failed to

       5    inform the entire board, for months.

       6

       7           23.    At about that time, KLEIN was hospitalized for heart surgery and ARFA was

       8    told that, in his absence, she was to report directly to, and have all communications pre-
    9       approved by, Drimerand Chairman of the Board Michael Goidblatt.
   10

   11             24.     When KLEIN recovered from his heart surgery in early September, he

   12      resumed his harassing calls to ARFA, berating her for making waves and admonishing her
   13      to increase her fund-raising. He even threatened to fire her and close the Los Angeles office
   14      if she continued to raise the tax-exempt issue. Despite the legal opinions expressed in the
   15      Seton Memorandum, both KLEIN and Drimer continued to demand that AREA and other

   16      regional directors not disclose to potential donors the loss of its tax-exempt status unless
   17      asked directly by the donor.

   18

   19             25.    On or about September 5, 2012, ARFA wrote a memorandum to Drimer,
  20       Goidblatt and Goldberg conveying her feeling that she was beingput in the middle of a fight
  21       among the Board regarding the tax issue and that she was being forced to do something that
  22       was both unethical and illegal. In the memo, she said that she "cannot in good conscience
  23       be asked to hide information that [she feels] affects the ethical and also legal operations of
  24       the ZOA." (See Exhibit C hereto.)

  25

  26             26.     In response, KLEIN continued to make harassing calls to ARFA threatening
  27       to fire her unless she complied withhis order to raise money without disclosing voluntarily
  28       to donors that the ZOA had lost its tax exempt status.
                                                         -7-


                                                   COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 9 of 94 Page ID #:50




        1           27.    When ARFA complained to Drimer about the harassing telephone calls from
       2     KLEIN, Drimer informed KLEIN, and KLEIN berated her for disclosing the contents of
       3     their telephone calls and for not keeping them confidential.
       4

       5            28.    ARFA continued to express her concerns to her superiors and convey her
       6     discomfort at being put in this ethical dilemma and to again plead her position that ZOA
       7     should exercise full and immediate disclosure to donors and the public at large. On or about

       8     September 28, 2012, ARFA wrote another memo to Drimer, Goidblatt and Susan Tuchman,
       9     a ZOA employee, and the lawyer in charge of ZOA's Center for Law & Justice, expressing
   10        the stress that the issue was causing her and complaining of KLEIN's harassments and
   11       attempts at intimidation. (See Exhibit D hereto.)
   12

   13              29.    Immediately after receiving this second memo, Drimer called ARFA and
   14       asked to see a copy of the buildinglease for the Western Region office. ARFA did not
   15       know at the time but has later discovered that he did so in retaliation for this memo so that

   16       he couldarrange to get out of the lease and close down the Los Angeles office of the
   17       Western Region.

   18

   19              30.    ARFA continued to pursue new avenues for fund-raising, including a
  20        solicitation email to the region's past donors. In the email, she wanted to reference the tax
  21        issue and direct questions to herselfor Drimer, but KLEIN ordered her to remove the
  22        reference from the email.

  23

  24               31.    Concerned that KLEIN was ordering her to act illegally, ARFA sought

  25        informal advice from a tax law expert, who confirmed her concerns that the practice is, at
  26        best, unethical and, at worst, illegal. On October 12, 2012, ARFA wrote a third memo to
  27        KLEIN, Drimer, Goidblatt, Goldberg and Tuchman, in which she noted that the practice was
  28        certainly unethical and disingenuous and expressed doubt about the legalityof KLEIN's


                                                  COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 10 of 94 Page ID #:51




        1    order. (See Exhibit E hereto.)

        2

        3           32.     Following the October 12, 2012 memo, Drimer assured ARFA that herjob
        4    was not in jeopardy and that renegotiation of the terms of the office lease was simply
        5    "procedure." In November Drimer informed ARFA that he would be coming into town for
        6    a friend's birthday party and would like to meet with her at the Los Angeles Regional office
        7    to discuss certain matters, including extending the office lease.

        8

        9           33.    On November 19, 2012, approximately one month after her last memo, ARFA
   10       met with Drimer and was surprised to find out that he had also brought Tuchman. ARFA
   11       immediately realized that Drimer's birthday party story was a fabrication, and that they had
   12       both flown to Los Angeles for the express purpose of firing her upon instruction and at the
   13       direction of KLEIN.

   14

   15              34.     Drimer informed her that she was being fired, effective immediately. As

   16       justification for the firing, Tuchman expressed consternation that ARFA had contacted
   17       outside legal advice on the tax issue instead of simply following KLEIN's order. When
   18       ARFA explained that she still had concerns about the legality of concealing the tax issue
   19       from donors, Drimer and Tuchman told her that if that was the case, she should have simply
   20       left the organization.

   21

   22              35.    ARFA asked to speak with Goldberg, but was pressured not to do so, on the
   23       pretense that it would present a "conflict of interest." ARFA was also not allowed to
  24        contact Paul Schnee, the local President. Eventually, she was allowed to bring her mother
  25        into the meeting for emotional support. ARFA was offered severance pay if she agreed to
  26        sign a release of the ZOA on the spot. ARFA refused and was given fifteen minutes to
  27        clean out her desk and leave the office.

  28

                                                          -9-


                                                   COMFLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 11 of 94 Page ID #:52




        1              36.    Later, KLEIN and Drimer claimed that AREA'S termination had nothing to do

        2    with her work performance, her opposition to concealing the loss of ZOA's tax-exempt
        3    status or anything personal. They claimed that it was merelya consequenceof a business
        4    decision to close the Los Angeles office and relocate the office of the Western Region to
        5    Oakland. The decisions to fire ARFA and to relocate the Western Regional office were

     6       neither approved by nor discussed with the ZOA Beardof Directors. ARFA was never
        7    offered the opportunity to relocate and continue her position in Oakland.
     8

     9                                         FTRST CAUSE OF ACTION

    10                  WRONGFUL TERMINATION - VIOLATION OF PUBLIC POLICY

    11                                           (Against All Defendants)

   12                 37.    Plaintiff herebyincorporates by reference all foregoing paragraphs of this
   13       Complaint, as though fully set forth herein.
   14

   15                 38.    Plaintiff was terminated in retaliation for her opposition to illegal conduct,

   16       namely, the concealing of the loss of Defendant ZOA's tax-exempt status as a not-for-profit
   17       entity.

   18

   19                 39.    The actions of Defendants were intentional, amounting to an abuse of power,

   20       and constituted fraud. Plaintiff believes that the motivation to terminate ARFA was to keep

   21       her quiet about the tax issue, allowing them to continue deceiving donors, thereby
   22       safeguarding their positions of power and, in the case of KLEIN, his inflated salary.
   23

   24                 40.    Defendants' termination of Plaintiff to silence her opposition violated the clear

   25       mandates of California's public policy as established by common law and statute, including
   26       but not limited to Cal. Lab. Code §1102.5. Plaintiff was engaging in protected activity by

   27       investigating, reporting and refusing to participate in potentially illegal activity by the
   28       organization and its management, board of directors and employees.
                                                            -10-


                                                     COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 12 of 94 Page ID #:53




                     41.       Asa direct and proximateresult of the aforementioned conduct of Defendants,
        2    Plaintiff has suffered past and future economic and non-economic damages in amounts to be
        3    proven at trial.

        4

        5            42.       The acts of Defendants were willful, wanton, malicious, and oppressive, and
        6    justify the awarding of exemplaryand punitive damages according to proof at trial pursuant
        7    to California Civil Code section 3294.

       8

    9                                         SECOND CAUSE OF ACTION

   10                      WRONGFUL TERMINATION                     GENDER DISCRIMINATION

   11                                             (Against All Defendants)
   12               43.        Plaintiff hereby incorporates by reference all foregoing paragraphs of this
   13        Complaint, as though fully set forth herein.
   14

   15               44.        Despite performing her job function admirably, Plaintiff was required to
   16       increase fund-raising, beyond that done by other regional directors. Those other directors,
   17       who were all male, were much less effective as programmers and administrators, and yet

   18       were not required to fund-raise anywhere near the rate at which ARFA was.
   19

   20               45.    Plaintiff believes that this disparate treatment was due in part to her concerns
   21       about the tax issue and in part to her being female.
   22

   23              46.     Plaintiff was discriminated against in working conditions and ultimately
  24        terminated because she was a women, in violation of Cal. Govt. Code §12940, et seq.

  25

  26               47.     As a direct and proximate result of the aforementioned conduct of Defendants,
  27        Plaintiff has suffered past and future economic and non-economic damages in amounts to be
  28        proven at trial.
                                                             -ll-


                                                      COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 13 of 94 Page ID #:54




        1           48.        The acts of Defendants were willful, wanton, malicious, and oppressive, and
        2    justify the awarding of exemplary and punitive damages according to proof at trial pursuant
        3    to California Civil Code section 3294.

        4

        5                                      THIRD CAUSE OF ACTION

        6                                          CIVIL CONSPIRACY

        7                                         (Against All Defendants)

        8           49.        Plaintiff hereby incorporates by reference all foregoing paragraphs of this
    9       Complaint, as though fully set forth herein.
   10

   11               50.    Each of the Defendants was aware that the others planned to terminate AREA

   12       because of her concerns over the tax issue and because she was a woman.

   13

   14               51.    Each of the Defendants agreed and intended that ARFA should be fired for
   15       these reasons and participated or facilitated the firing.
   16

   17              52.     As a direct and proximate result of the aforementioned conduct of Defendants,
   18       Plaintiffhas suffered past and future economic and non-economic damages in amounts to be
   19       proven at trial.

   20

   21              53.     The acts of Defendants were willful, wanton, malicious, and oppressive, and

   22       justifythe awarding of exemplary and punitive damages according to proofat trial pursuant
  23        to California Civil Code section 3294.

  24

  25                                         FOURTH CAUSE OF ACTION

  26                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

  27                                             (Against AH Defendants)

  28               54.    Plaintiff hereby incorporates by reference all foregoing paragraphs of this
                                                             -12-


                                                      COMFLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 14 of 94 Page ID #:55




        1    Complaint, as though fully set forth herein.
        2

        3               55.    Defendants' conduct as alleged herein was so outrageous as to cause Plaintiff
        4    to suffer severe emotional distress over an extended period. This stress was unrelated to and

        5    beyond that of her normal job description and duties.
        6

        7               56.    Defendants acted with reckless disregard to the probability of causing Plaintiff
        8    emotional distress by their outrageous conduct, including requiring her, as a condition of her
        9    employment, to act unethicallyand illegally, threatening her with termination if she did not
    10       violate the law by concealing material information from potential donors and the public, and
    11       subjecting her to harassing telephone calls at all hours of the day and night.
   12

   13                   57.    Plaintiff suffered severe emotional distress proximately caused by Defendants'
   14       conduct. Defendants' conduct was a substantial factor in causing Plaintiff severe emotional

   15       distress.

   16

   17                   58.   As a proximate and legal result of the conduct of Defendants, Plaintiff has
   18       suffered damages exceeding the jurisdictional limits of this Court in an amount to be proven
   19       at trial.

   20

   21                                          FIFTH CAUSE OF ACTION

   22                         NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

   23                                             (Against all Defendants)
   24               59.       Plaintiff hereby incorporates by reference all foregoing paragraphs of this
   25       Complaint, as though fully set forth herein.
  26

  27                60.       Defendants' conduct as alleged herein caused Plaintiff to suffer severe
  28        emotional distress over an extended period. This stress was unrelated to and beyond that of
                                                             -13-


                                                      COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 15 of 94 Page ID #:56




        1       her normal job description and duties.
        2

        3               61.    Defendants acted with a negligent disregard of the probability that Plaintiff
        4       would suffer emotional distress.

        5

        6              62.     Plaintiffs severe emotional distress was proximately caused by Defendants'
        7       conduct, and Defendants' negligent conduct was a substantial factor in causing Plaintiffs'
        8       severe emotional distress.

        9

   10                  63.     As a proximate and legal result of the conduct of Defendants, and each of
   11           them, as described hereinabove, Plaintiff has suffered damages exceeding the jurisdictional
   12           limits of this Court in an amount to be proven at trial.

   13

   14                                           SIXTH CAUSE OF ACTION

   15                                        UNFAIR BUSINESS PRACTICE

   16                                              (Against all Defendants)

   17                  64.    Plaintiff hereby incorporates by reference all foregoing paragraphs of this
   18       Complaint, as though fully set forth herein.
   19

   20                 65.     Defendants' conduct as alleged herein was unlawful, unfair and fraudulent and
   21       therefore violates California's Unfair Competition Law, Cal. Bus. Prof. Code §§17200, et
   22       seq.,

   23

   24                 66.     Defendants' conduct was unlawful in that it violated, inter alia, Cal. Gov.

   25       Code §12900, etseq., (particularlyCal. Govt. Code §12940), Cal. Lab. Code §1102.5, as
  26        well as Internal Revenue Service reporting statutes.

  27

  28                  67.     Defendants' conduct was unfair by (1) subjecting Plaintiff to disparate
                                                              -14-


            "                                          COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 16 of 94 Page ID #:57




             treatment, including stricter terms and conditions of employment and ultimate termination,
        2    because of her gender; (2) requiring employees, including Plaintiff, at the risk of losing their
        3    jobs, to engage in unethical and illegal activity; (3) harassing, threatening to terminate and
        4    ultimately terminating Plaintiff because of here unwillingness to, and/or expressing her
        5    apprehension and moral objection to, participating in unethical and illegal activity
        6

        7           68.    Defendants' conduct was fraudulent in that it perpetrated a scheme to actively
        8    conceal material information from the public, and specifically from potential donors, and to
        9   require its employees to participate in the scheme against their will. Defendants did not

    10      inform potential donors - and instructed its employees and volunteers to conceal - that the
    11      ZOA has lost its 501(c)(3) status or the gross mismanagement at the national level of the
   12       ZOA that resulted in the required Form 990s not to be filed. In addition, Defendants told
   13       donors - and instructed ZOA employees and volunteers to tell donors -- to send donations
   14       for the ZOA to FJC, without informing them that the FJC is an entirely different
   15       organization from the ZOA, that the FJC is notlegally obligated to transfer the money to the
   16       ZOA ever and is not even permitted to transferthe money to the ZOA unless and until the
   17       ZOA reestablishes its 501(c)(3) tax-exempt status, or that, even if the FJC does eventually
   18       transfer the money to the ZOA, it will retain an initial as well as yearly commission before
   19       doing so.

   20

   21              69.    Plaintiff alleges that, as a direct and proximate result of Defendants' unfair
   22       business practices, Plaintiff has suffered damages, in an amount to be proven at trial.
   23

   24              WHEREFORE, Plaintiff prays for judgment against defendants as follows
   25              1.     For consequential and incidental damages according to proof;
   26             2.      For general damages, according to proof;
  27              3.      For special damages, according to proof;
  28              4.      For exemplary damages, according to proof;
                                                         -15-


                                                   COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 17 of 94 Page ID #:58




                   5.    For statutory damages and costs, including reasonable attorneys' fees and
        2                costs of suit;

        3          6.    For such other and further relief as may be proper.

        4

        5                                 DEMAND FOR JURY TRIAL

        6         Plaintiff ORIT ARFA demands a trial by jury on all claims triable to a jury under
        7   California law and the Seventh Amendment to the Constitution of the United States.

        8

        9 Dated: March 25, 2013                     THE ALTMAN LAW GROUP

   10                                                          ^         /?
   11                                               By:_

   12                                                        Joel E. Elkins, Esq.
                                                    Attorneys for Plaintiff ORIT ARFA
   13

   14

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                                               COMPLAINT
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 18 of 94 Page ID #:59
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 19 of 94 Page ID #:60




      _r't Arte

     rrotn:                                     David Drrmer
     Ssmh:                                      Wednesday, Inarch20,2017 9:08AM
     To;                                       StuartPavilack GMAIL" Kob> Erez (fcooi@mizoa.org); Philadelphia Forward; Joseph Sabag;
                                               Orit Arra, tkom@korrrtax.com
     Cc:                                       Stantey Kessocfc
     Subject                                   talking points, internal breJfincj info,donor copy, etc.
    Attachments:                               ZOA tmp chng txstis 2 tfcdooc FJC IRS Tax Exempt Determination tetter.pdf


    Team:


    We acknowledge there have been inquiries fiom the regional directors regarding how to deal with questions regaiding
    our temporary change in ta» status both from major donors and interna! stakeholders.

   In general, please do not broach tms subject with donors unless it is absolutely necessary or they ask abou': It
   specifically. We firmrv believe we can turn this around quickly through retroactive reinstatement sothat assertively
   publicizing ihe currentstate of affairs will not be advantageous forthe short and fong-term interests of the ZOA. On the
   other hand, family foundations or Federation-related donor funds, et at. willstumble onto our tax status issues
   organically. We do need to be prepared.

   Below (inblue) Is language for addressing the need to revisethe way donors address checks plusthe preferentialorder
  for how tnose checks need to be made out Attached are talking points for dealing with internal Inquiries and I
  encourage you to briefyour local Boardmembers as soon as possible and askfor their confidentiality while we
  remediate the situation with the IRS.


  You will alsofind attached an IRS determination letterforthe Foundation for the Jewish Community (FJC ORG), the
  administrators of the '70A Donors Fund."This can be shared with: 1, large direct contributors, 2. foundations and 3.
  other donor advjsed funds, etc.

 Again, Jremind you to keep an accurate accountingof all monies received using your normal procedures but do r.ot
 deposit checks in the bank. Send them to Stan Kessock here in New Yonc

 As always, ifyou, yourboard members or donors have sny questions or concerns thsywish to discuss regarding this
 matter, please don't hesitate to ca'f either me o: St?n Kessock at any time.

 Best regards,

 Dave


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isr-jit v.Ash V? ^rrtr'if, ;-.'.or^ . fX.-.wiit'itMGUa "'". -- a.V; Scitv*.' n\.,i" i<* ?">!;>>:•• i-jfji1',?, 'A-i.v; ,^th'
yc. ii.-tf.-iyyl'- '•''% <•!< .:> :.*• !/'•'-.'"'j\-Jii.'..a!*h>yU.Jn'~r: i..ik.stW> ci.-">,vr?c>- •'

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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 20 of 94 Page ID #:61




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  David Drimer
  Ndticrwl PxecutTve Director
  TiONfST OKGANi-VTiON OF AMERICA <ZOAl
  21_.4fil.l500,eKt246
  gdnrnijr@zqa.qrg
 ,V___.___
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                                                   Talking Points:
                                 ZOA's Temporary Change In Tax Status

       L    Whai Iiap^nad?

            A. Dua to a change in IRS rules 1.1 2006 thatwent into effect in 2008,300,000 not-for-profit
                (NFP) organizations had their tax free status revoked without warning in 201.1
            R, Unknown to anyone in management here, ZOA's not-for-profrt ilacus w<js revoked by
                the IKS mMay, 20X1 We were not informed until February 22,2012
                1. Important note: all donations iccetvcd from May 15 through f?bru*:v >.2 •an-r.>l lay
                   deductible for the donors and tsx free for the ZOA
            C. Even our auditors {Loeb &Troper) - widely-regarded as the best Jewish not-for-profit
               accounting firm in New York - were unaware ofthis IRS action.
               1, This was a computer-generated "auto-revocation"
                      i No committee or individual determined this; there Is no political subtext
                         > The reason we were revoked isbased on a misunderstanding regarding
                             the deadline date for filing the annual990 tax returns required of an NFP
                               organization
                           > Every year (2008,2009,2010} we filed for an automatic 6-monfh
                               extension on fifing our return
                           > We believed - and our auditors concurred - that wehad until November
                               15, 2011 tofile form 990 for 2008 with theIRS. This belief was in error;
                               we really only had unti! May 15,2011.
                       it We appropriately relied on our accountants to counsel usaccurately; they
                           failed to do that, though it was clearly within theirprofessional responsibility
                           to do S3.


           D. We missed the deadline while trying to obtain auditedfinancial statements for the years
               in question. We could have fifed in each of those years based on unauditedstatements
               1. \j 2 Jl-Jr '•: get caught do.'ng a "bad ihing *We missed atechnical filing deadline
                  -:r, irrj '<o do the "best thing."
              2. Our accountants had full knowledge ofthis strategy and they agreed with it.

      JX What ai^ tve doing abouv ft?

           A. We are filing for retroactive reinstatement tothadate ofcancellation
           3, We have hired probono taxcounsel to represent us in this matter
              1. He will guide our reapplication and appeal strategy, review filings and vet public
                  statements to ensure compliance.
              2. Based on his advice, we are Immediately addressing all organizational and financial
                  issues likely to be scrutinized bythe IRS in the application review process.
              3. We set-up a "Donor Advised Fund" with the Foundationfor the Jewish Community
                  (FJC.org), a 501(c)(3) charitable foundation.
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 22 of 94 Page ID #:63




                    a. There will be no interruption tn our abilityto 1undrai:>e to supporc the fuluie
                          work of the ZOA; all funds collected go directly Into the Foundation account
                    b. All donations made to the "ZOA Donors Fund" at FJCorg will be fully tax
                          deductible
                             > The onecaveat: we cannot touch that money until weget our 501(c)(3)
                                 tax status reinstated
                             > When reinstated, we will advise FJC to donate the money to the ZOA
                             > This Isentirely legal, even common, for organizations dealing with similar
                                challenges; this plan has been approved by our attorney
                   c. We ere working with ouraccountants on a two-pronged straregy: a continuing
                         to audit2009, 2010,2011 and b. preparing unauditedfinancial statements for
                         those years to file 990's along with our application and appeai
                         ii* We have more Loeb &. Troper personnel working on our account than ever
                            before
                        iv Weare seeking ^expedited review" of our application and appeal by the IRS.
                        v The process of getting reinstated could possibly take less than £ months, but
                            ft is prudent to plan for from Gmonths to one year.

       ill. Unllf •./_• are reinstated, what are the consequences?

           A. Alt regions must come undervery strict organizational and financial controlby National
              1. Regional offices can make payments out of their bank accounts
                  a. They may NOT collect and deposit donations, all donations they collect must be
                        forwarded to FJC.
                b. ZOA National willprovide operating subsidies when appropriate.
          B. We are a for-profit entity subject to Income tax and we are required to file a tax return,
              1. Therewill be no income tax liability, however,, as we w<fl show a net loss forthe year
                 (2012).
          C Until such time as ail currentvendordiscounts and tax rebates are reviewed (e.g., USPS,
            property tax), it Is prudent to assume some of these budgetary line items will be
            affected - resulting in higher operating costs.
            1. ZOA is doing its best to minimize any of these costs.
         D. Wo need to negotiate with the IRS to maintsin our retirement accounts without
             modification
             1. We have retained another attorney who specializesin this area (ERISA law), He Is
                confident there will be no interruption In our retirement savings plans.

      fV. The ttiivre


        A We need to be prudent in how we spend ZOA'sinstitutional funds, but we are
           committed to pursuing our mission as vigorous') . >cv.?,.
        B. We will emerge from this a better managed organization, opening in total compliance
           with all regulatory mandates and IRS rules.
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 23 of 94 Page ID #:64




          C We will be more attractive to thedonor community and better poised forgrowth via
            increased programming and membership building activities when weemerge from this
             period
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 24 of 94 Page ID #:65




      INTERNAL" REVENUE SERVICE                                DEPARTMENT OF THE TREASURE
      DISTRICT DIRECTOR
      fi.f.O. BOX 16'80
      BROOKLYN, HY    11202
                                             cmployei Identification Number;
      Date.'                                     *XX-XXXXXXX
                   a m ifl»*                 Case Number; '
                                                 115331012
      THE FOUNDATION F'OR THF JEWISH        .Contact Person:
       CuKMUNlTY                                 J. MOSES
      C/0 JOEL DEHBY, EXEC. DIRECTOR         Contact Telephone Number:
     .150 EAST 58TH STREET,                      (718) 488-2971
     NEW YORK, NY 10155 -
                                            Accounting Period Ending:
                                                 MARCH 31
                                            foundation Status Classification:
                                                 509(a)(1)
                                            Advance Ruling Period Begins:
                                                SEPfENflER 15, 1995 •
                                            Advance Ruling Period Ends:
                                                MARCH 31, 2000
                                            Addendum Applies:
                                                 YES



     Dear .Applicant:

          Based on information you supplied, and assuming your operations will be as
     stated In your application for recognition of axeftption* *e have determined you
     are exempt frc» federal income tax under section 501(a) of the Internal Revenue
     Code as an organization described in section 501(c)(3).

          Because you are a n<*wly created organization, t?e are not now-Unking a
    final determination of your foundation status under section 509(a) of the Code.
    Houevec, we have detail?! ned that you can-reasonably expect to be a publicly
    supported organization described in sections 509(a)(1) tad 170(b)(l)(ft)(vi).
          Accordingly„ during an advancs ruling period you sill be treated as a         •
    publicly supported organization, and not as a private foundation.       This advance
    ruling period begins und snds on the dates ehown above.

         Within 70 days after the end of your advance ruling period, «o<f eust
    send us the information pyeoed to determine whether you have met the require-
    Bents of the applicable support test during the advance ruling period. If you
    establish that you have bsan a publicly supported organization, *e will classi
    fy you as a section 309(a)(1) or 509(a)(2) organization as long as ycu continue
    to meet the requirements of the applicable support tast„       If you do not meet
    the public support requirements during the advance ruling period, r.e will
    classify you as a private- foundation for -future periods.    Also, if wj classify
    you as a private foundation, we will treat you as a private foundation fiou
    your beginning dats for purposes of section 507(<!) and 4940.

         grantor's und contributors raay rely on our deserainafcicm that you are not a
   private foundation until 90 days after the end of your advance ruling period.
   If you send us the required information wixfiin the 90 days, grantors artd '
   contributors nay continue to rely on the advance determination until we make
   a finnl' determination ofvour foundation status.


                                                                     erffi' 1045 fnO/HG
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 25 of 94 Page ID #:66
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 26 of 94 Page ID #:67




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                                                 www.igtanand3ssoeiates.com




                                                MIMfiEANDUM

       From: KentE. Seton, Esq.

      Date: My 30,2012

      Re:     Potential Liability ofIndividual Members of the Board ofDirectors of The Zionist
              Organization ofAmerica under Stateand Federal Law for Failure to Disclose Loss of
              Tax-Exempt Statusto Charitable Donors


               In response to the revocationby the Internal Revenue Service("IRS") ofthe tax-exempt
      status of The Zionist OrganizationofAmerica("ZOA"). you have asked us to examine whether
      the individualmembers of the Board of Directors (the"Board"') of the ZOA could face potential
      liability under applicable state and Federal law with respect to (1) the failure to disclose the loss
      of tax-exempt status to charitable donors generally, and (2) exposurearising from selective
      disclosure ofthe loss of tax-exempt status to an isolated few of its existing charitable donors, and
      to an even fewer number ofits potential charitable donors. This Memorandum sets forth our
      analysis based on our telephone conversationswith Steven M. Goldberg ("Goldberg"), National
      Vice Chairman of the ZOA, and/orwritings received fromMr. Goldberg and/orpublicly
      available sources.


                                                     I.       FACTS

             We understand:

             (i)     The ZOA is a non-profit1 charity that was incorporated inthe State ofNew York.
            (ii)    The ZOA's current Boardconsists of 38 members, all ofwhom serve without
      compensation, except for theNational President. Article XTfJ, Section 2(a) of the Constitution of
      the ZOA adopted atthe 96th National ZOA Convention held in New York in2010 (the
     "Constitution") providesthat the Board of Directors shall consistof (a) all electedand appointed
     Officers otherthan Honorary Officers; (b)up to 16 members who shall be elected by the Board;
     and (c)up to 30 members who shall be appointed by the NationalPresident.



     ! The ZOA is currently classified as a "domestic not-for-profit corporation" according totheofficial
     website of the Department of Stateof New York. Non-profit status refers to incorporation status under
     state law, while tax-exempt status refers to federal income tax exemption under the Internal Revenue
     Code.
    Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 27 of 94 Page ID #:68




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                                                        www,ietonartda«ociBtesxom



                  (iii). The Boardhas not adopted any by-laws for the ZOAnotwithstanding the directive
           ofArticle XIII, Section 1(c) for the Board to "establish and promulgate by-laws,.." Note that we
           have not reviewed the ZOA certificateor incorporation and our analysisremains subject to
           further review of same.

                   (iv)     Morton A, Klein currently serves as the National President of the ZOA (the
           "National President"), has served in such capacity for approximately 18 years, received total
           compensation exceeding $700,000 during calendar year2011, not including expense and travel
           reimbursements,has appointeda majority of the current Board members pursuant to the
           Constitution, and is a member of the ZOA Board.

                   (v)     By noticedated February 13,2012 (the "IRSNotice"), addressed to the ZOA
          national headquarters office located at4 East 34th Street, New York, NY, 10016-4333 (the
          "National Office"!, the ZOA was informed by the IRS that its tax-exempt status has been
          revokedautomatically as requiredby law,effective May 15,2011 (the "Revocation Date"), due
          to the ZOA's failure to file HIS Form 990s for three consecutive years.

                  (vi)     The IRS Notice further provides that the IRS:

                          (1)    had not received anyresponse from the ZOA to prior correspondence
                  issued by the IRS and addressed to the ZOA National Office requesting the ZOA to file
                  its annual infatuation returns; and

                         (2)    because the ZOA is no longer tax-exempt, tic ZOA cannot receive tax-
                  deductible contributions and will be included in the IRS list oforganizations that arc no
                  longer tax-exempt andpublishedon the www.irs.gov/eo website which is available to the
                  public, state charity officials and state tax officials.

                   (vii) As of the date ofthis writing, the delinquent IRS Form990s have not yet been
          filed, so the ZOA cannot initiate an appeal or file a request for reinstatement of its tax-exempt
          status at this time.

                  (viii) As of the date ofthis writing, the ZOA website (www.zoa.org) does not inform
          donors and/or prospective donorsthat it has lost its tax-exempt status, but rather seamlessly
          transfers donors to a separate webpage-entitled-"FJC - A Foundationof PhilantivopicFunds,
          Reference: ZOA Donor Fund" (the "FJC").

                 (ix)  The FJC Summary ofProcedures and Rules for Collective Giving Accounts
         and/or the FJC Collective Giving Letter Agreement provide:




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 28 of 94 Page ID #:69




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                                                  www.5gtonandassocates,com



                     (1)   allfunds received by FJC will besubject tofees, which for the initial term
              ofthis Agreement shall generally be (A) aninitial fee oftwo-five percent (2-5%) ofall
              funds received byFJC designated for theGroup, plus (B) an annual fee of onepercent
              (1%) ofthe average daily balance ofthe assets held inthe Collective Giving Account;
                     (2)        the FJC has the right to reject contributions of any asset and toclose such
              account at any time and for any reason;

                     (3)        the FJC owns the assets ineach Collective Giving Account outright and
             has complete control overthem, forthe charitable purposes of FJC, TheAdvisors tie..
             ZOA1 do not have any power to restrict the absolute rights ofFJC as owner ofthe assets
              (Emphasis added); and

                     (4)     the FJC will distribute funds contributed, and income earned by these
             funds, generally to charitable organizations described in Sections 501(c)(3) and
             509(a)(1), (2), or (3) ofthe Internal Revenue Code as it now exists or as it may be
             amended.

             (x)    As ofthe date ofthis writing, certain ZOA Regions, including without limitation,
      the ZOA - Michigan Region, falsely state that the ZOA is a 501(c)(3) non-profit organization,
      which misrepresentation has a direct nexus to the National ZOA since Article VII, Section 1(a)
      ofthe Constitution provides that "[ajll funds,... raised orcollected for orbythe Zionist
      Organization ofAmerica by any Region or District... shall become the property ofthe Zionist
      Organization ofAmerica through its National Organization immediately upon collection
      thereofl"

              (xi) The ZOA has established astanding Governance and Compliance Comrnittee
      consisting ofatleast four members ofthe ZOA Board, including Goldberg.
              (xii) The ZOA has selectively disclosed the loss ofits tax-exem.pt status on a case-by-
      case isolated basis tofew ofits prior and/or existing charitable donors, and likely to an even
      fewer number ofits potential charitable donors. At least one donor who controls anonprofit
      entity, when informed that the ZOA bad lost its tax exempt status, stated that he was uncertain if
      his organization, pursuant to its own mission and rules, would be able to donate to the ZOA at
      thepresent-time inlight ofits.tax-exempt revocation, fiirther highlighting the materiality ofthe
      information.

             (xiii) Goldberg, inhis capacity as the National Vice Chairman ofthe ZOA, has
      expressed concern that the ZOA's failure to disclose the loss ofits tax-exempt status to its
      charitable donors and the establishment of a relationship withthe FJC by whichthe FJC andnot
    Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 29 of 94 Page ID #:70




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           theZOA retains complete controlover the contributed assets, exposes the ZOA, the Board, and
           the individual ZOA directors and officers, to liability.

                  (xiv) The National President has expressed his beliefs:

                         (1)    thatthe ZOA's accounting firm, Loeb& Troper, LLP, alone, whichwas
                  hiredto preparethe IRS Form990s, has soleresponsibility for the ZOA's loss of its tax-
                  exempt status;

                         (2)   thedecision to utilize theFJCto act as the recipient of charitable funds
                  receivedfrom donorsofZOA during the loss of its tax-exempt status is sufficientto
                  protectZOA donors from disqualification of their charitable contributions after the
                  Revocation Date; and

                            (3)       there is no need to notify ZOA donors as to the loss of ZOA's tax-exempt
                  status.


                                                          H.        FINDINGS

                 1.     Based on what has occurred, it appears that there was a failure to establish and
          implement internal controls to ensurethatthe ZOAoperates according to the law and its
          governing framework to maintain the ZOA's compliance with its desired and contemplated IRC
          Section 501 (c)(3) status.

                 2.      According to the information youhaveprovided us, theBoard didnot perform its
          oversight dutiesand ceded all internal financial controls and reporting proceduresto the National
          President and by not insisting on the distribution of the ZOA financial reports and tax returns not
          less frequently than annually.

                 3.       The Boardfailedto satisfy its dutyof obedience to the organization by insuring its
          compliance withall appropriate laws, including withrespect to theNew YorkState Department
          ofTaxation andthe IRS, and its inability to be in a position to satisfy its obligations to provide
          copies of itsfederal reports (IRS Form 990) and its financial reports if, as andwhen requested by
          members of the public.

                4.       The power vested in the National Presidentto appointa majority of the Board
          members (up to 30 members pursuantto Article XTIL Section 2(c)of the Constitution) creates
          thepossibility and evenlikelihood of a conflict of interestby the National President because of
          Ms power and control over the composition of the Board,




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 30 of 94 Page ID #:71




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           5.       Once the Board, andits standing committee, the Governance andCompliance
      Committee, were made aware oftheloss oftheZOA'stax-exempt status, it should have
      recognized the potential risk to the ZOA community and itsreputation. Instead, it appears the
      Board andtheGovernance and Compliance Committee (other than Goldberg), as governing
      bodies, failed to inquire reasonably and to demand detailed information from the National
      President

             6.        A donor likely hasa valid claim that the individual Board members had a legal
      responsibility to ensure that the ZOA disclosed the loss ofthe organization's tax-exempt status in
      atransparent fashion, including posting on the ZOA website, issuing apress release, and sending
      letters to its donor list. There is anaffirmative dutyfor the ZOA andits Boardmembers to
      disclose these fects since theZOA has a duty to thepublic to represent fairly and accurately its
      tax exempt status.

             7.        Adonor potential has a legitimate claim for breach offiduciary duty and fraud
      against both the ZOA and the individual members ofthe Board ifadeduction taken by a donor
      were disallowed In addition, even ifthe deduction were notdisallowed, a donor may claim that
      the donor was misled into believing that the ZOA were a tax-exempt organization and thatthe
      donor would not have made thedonation if accurate information hadbeen disclosed. In our
      opinion an affirmative duty to disclose does exist. Accordingly, adonor likely has avery strong
      claim against not only the ZOA but also the individual Board members. Inaddition, a donor may
      seek rescission to forcethe ZOAto return the donationbased upona claimthat the
      misrepresentation that the charity is aqualifying organization nullified the bargained for
      consideration.

             8.        The ZOA's failure to file the requisite IRS Form 990s could result in penalties
      against the ZOA and its "responsible persons."



                                      IH.      DISCUSSION AND ANALYSIS

             A.        Is there an affirmative obligation onthe part of the Board ofthe ZOA to
                       disclose the loss ofitstax-exempt status to itsactual and potential
                       charitable donors, and, if so, if a donor is "injured"-by reason of such non
                       disclosure, would this subject theindividual members ofthe Board of
                       ZOAto personal liability for those injuries?

              New York state law vfists the power tomanage nonprofit corporations inthe board of
      directors. Section 701(a) ofthe New YorkNot-For-Profit Corporation Law (the "NPCL'Q
      provides inpertinent part: '"Except as otherwise provided by the certificate ofincorporation, &
     Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 31 of 94 Page ID #:72




                                      Qr-rrMvs I?'. 'Aa
                                       seton & Associates
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                                                     www.setonflnda.woriates.com


           corporation shall be managed by its board ofdirectors." From alegal perspective, the Board and
           its members, individually, havethree fundamental duties:
                   (1) Duty of Care, which is taking the care and exercising the judgment that any
           reasonable and prudent person would exhibit in the process ofmaking informed decisions,
           including acting in good faith consistent with what amember ofthe Board truly believes isin the
           best interest ofthe organization. The law recognizes and accepts that Board members may not
           always be correct in their choices or decisions, but itholds them accountable for being attentive,
           diligent, and thoughtful in considering and acting on apolicy, course ofaction, or other decision.
           Active preparation for and participation in board meetings where important decisions are to be
           made is an integral element ofthe duty ofcare. This standard ofcare iscodified by New York
           law inSection 717(a) ofthe NPCL which provides inits entirety as follows:
                          "§ 717. Dutyof directors and officers.

                              (a) Directors and officers shall discharge the duties oftheir respective
                          positions in good faith and with that degree ofdiligence, care and skill which
                          ordinarily prudent men would exercise under similar circumstances inlike
                          positions. In the adnrinistration of the powers to make and retain investments
                          pursuant tosection 512 (Investment authority), to appropriate appreciation
                          pursuant to section 513 (Administration ofassets received for specific purposes),
                          and to delegate investment management ofinstitutional funds pursuant to section
                          514 (Delegation ofinvestment management), a governing board shall consider
                          among other relevant considerations the long and short term needs ofthe
                          corporation incarrying out its purposes, its present and anticipated financial
                          requirements, expected total return on its investments, price level trends, and
                          general economicconditions."

                    This standard considers the "position" and "circumstances" and, therefore, will impose
           varying standards, depending upon the status ofthe individual Board member and the nature of
           the action being evaluated. For example, board members are generally held to ahigher standard
           when the action being questioned involves extraordinary or controversial action by the
           corporation, such as the purchase or sale ofamajor asset or any other major transaction not in
           the ordinary course of action.

                    (2) Duty ofLoyalty, which calls upon the Board and its members to consider and act
           in good faith to advance the interests ofthe organization. In other words, Board members will
           not authorize or engage intransactions except those inwhich the best possible outcomes or terms
           for the organization can be achieved. This standard constrains aBoard member from
           participating in Board discussions and decisions when they as an individual have aconflict of




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 32 of 94 Page ID #:73




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      interest (i.e., their personal interests conflict with organizational interests, or they serve multiple
      organizations whose interests conflict).

              There has been nointimation thatany inappropriate personal benefits havearisen from
      conflicts of interest and/or self-dealing transactions. Nonetheless, it is appropriate to notethat
      IRC Section 501(c)(3) prohibits organization assets from being used rjrimarily for the benefit of
      em individual. Anorganization can pay employees adequate salaries and benefits without
      violating this provision. Also, an activity that benefits me organization ispermitted even if an
      individual receives a benefit However, the Board should determine whatthe benefitis to the
      organization before an activity may be implemented, and the minutes should reflect the benefits
      ofthe activity. If the Board determines that the primary benefit isto an individual, then the
      activity should not beimplemented. Ifthis requirement isviolated and private benefit is found,
      the organization's tax-exempt status may be lost. Inaddition topossible loss ofexempt status of
      the organization, under the intermediEte sanctions rules effective September 14,1995, if aperson
      who was in aposition to exercise substantial influence over the organization anytime inthe past
      five years receives an "excess benefit", that person must make the organization whole (e.g.,
      return the excess benefit, plus interest) and is subject toa substantial penalty (ranging from 25%
      to 200°/o of the excess benefit). Further, anyone approving the excess benefit (e.g., thedirectors)
      are subject toapenalty of 10% ofthe excess benefit, up to$10,000 per transaction. Inreviewing
      any transaction, a director must make sure that the activity does not result in "private benefit."
             Nonvithstanding the foregoing, acts and failure to act bythe National President are
      implicated by the lack ofprompt notification to the Board ofthe ZOA's loss ofits tax exempt
      status. (See discussionin Section B belowre reasonable reliance).

             (3) Duty of Obedience, which requires obedience to the organization's mission,
      bylaws, and policies, as well as honoring the terms and conditions ofother standards of
      appropriate behavior such as laws, rules, and regulations. The New York State Department of
      Law Charities Bureau issued apublication entitled "Right From the Start: Responsibilities of
      Directors and Officers ofNot-For-Profit Corporations" by then Attorney General Andrew M.
      Cuomo to assist current and future boards of directors andofficers of New Yorknot-for-profit
      corporations tounderstand and carry out their fiduciary responsibihties tc the organizations they
      serve. Acopy of that publication isattached hereto and also may be accessed on the internet at
      the following link: http://oldusitt.Org/documents/3 62.pdf. Importantly, that publication provides
      that aboard has a duty of obedience to insure that the organization complies with applicable laws
      and regulations and its internal governance documents and policies, including:
                    (x)   Complying with all appropriate laws, including registering with the
             Attorney General's Charities Bureau inNew York Statet complying with the registration
             and reporting laws and other applicable laws ofall states inwhich it conducts activities
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 33 of 94 Page ID #:74




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              and/or solicits contributions, filing required financial reports withthe Attorney General,
              ... the State Department of Taxation and Finance andthe Internal Revenue Service ...

                      (y)     Providing copies ofits applications for tax-exempt status (IRS Form
              1023), federal reports (TRS Forms 990, 990 PF, 990 EZ)and its financial reports filed
              with theAttorney General's Charities Bureau to members of the public who request
              them.

             TheBoardfailedto satisfy its duty of obedience to the organization byinsuring its
      compliance with all appropriate laws, including with respect tothe New York State Department
      ofTaxation and the IRS, and its inability tobe in a position to satisfyits obligations to provide
      copies ofitsfederal reports (IRS Form 990) and itsfinancial reports filed with the Attorney
      General's Charities Bureau to members of the public who request them.

             The ZOA's failure to file an IRS Form 990, in addition, could result in penalties against
      the ZOA and its "responsible persons." An IRS Form 990 must befiledannually in orderto give
      theIRS and the public information about theZOA's operations. A charitable organization's
      failure to timely and accurately file an IRS Form 990 canresultin penalties, which maybe
      reduced if the charitable organization demonstrates "reasonable cause" forthefailure in a written
      statement (TRC Section 6652(c)(3)). The severity ofthepenalties is dependent in part upon
      whether a charity'sgross receipts exceed SI.0rnillion. In light of theZOA'sannual multi-
      million dollar gross receipts, theZOA is subject to a penalty of $100 perday, notto exceed
      $50,000 for any onetaxreturn (IRC Section 6652(c)(1)(A)). Also, a penalty of$10 per day, not
      to exceed $5,000, may be imposed against each"responsible person" atthe ZOA who failed to
      filethe IRS Form 990 after the deadline set forth by the IRS in a letteraddressed to the ZOA
      (IRC Section 6652(c)(1)(B)). Additional penalties against "responsible persons" who willfully
      did notfilethe IRSForm 990, including fines andimprisonment, are setforth in Sections 7203,
      7206, and 7207 of the Internal Revenue Code.

              Pursuant to IRC Section 170, donations to "qualifying" organizations aretax deductible
      tothe donor upto 50% ofthe donor's adjusted gross income if theorganization is a "public
      charity" as defined under Section 509 ofthe Internal Revenue Code. An organization ceases to
      be a recognized charity if its status is revoked bytheIRS (TRC Section 6033(j)). Revocation ofa
      charity's status is automatic upon the failure ofthe organization tofile its annual information
      returns forthree (3) consecutive years. The facts surrounding the loss of the ZOA's tax. exempt
      status areincontrovertible. Simply put,ZOA failed to file its returns for three(3)consecutive
      years andits tax'exempt statuswas revoked effective May 15,2011. Pursuant to IRC Section
      60330), oncethe IRS published thenotice oftherevocation in its electronic "automatic
      revocation" list(the "list"), onFebruary 22,2012, theZOA was nolonger a "qualifying
      organization" under IRC Section 170. Under federal law, once the List was published, a donor is
      deemed to have notice that any contributions arenot allowable. ZOA's efforts to defend any
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 34 of 94 Page ID #:75




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         donor lawsuitby shiftingthe burdento the donor for iailureto check the List will not be
         sustained. Further, it is our opirioa thai a donormay have &valid claim thai the individual Board
        members hada duty to ensure that theZOA disclosed theloss of theorganization's liar-exempt
        stains in a transparent fashion, including posting on the ZOA website, issuinga press release, and
        sraiding lettwsto its donorlist Webelieveflsere is an affirmative duty fbr the ZOA and its Board
        members to disclosethese facts Bincefhe ZOAhas a duty to the public to represent feirly and
        accurately its tax exempt status.

               A donormay have a very strongclaimfor breach of fiduciary duty and fraud against both
        the ZOA aad 1he individual Board membersifa deductiontaken by a donor were disallowed, Li
        addition, even ifthe deduction were not dsaliowed, a donor may churn thatthe donor was misled
        into believing that fie ZOAwerea tax-exempt orgHniaation andthat the donorwouldnot have
        made the donation if accurate information hadbeendisclosed. As of thedate ofthis writing,
        certainZOA Regions, incftidmg withouthntitation, the ZOA- MichiganRegion,falsely state
        thatthe ZOA 13 a 501(cX3) non-profit organization, which misrerpj«s«itation has a directnexus
        to the National ZOA since Article VII, Section1(a) ofme (^ustimtionprovides that "[ajll funds,
        ... raised or coll«xtedfor or by fiiDZionurt Organizationof Americaby any Region or District...
        shallbecome theproperty ofthe ZionistOrganization of America throughits National
        Organization immediately upon collection thereof** Thisis clear misrepresentation.

               Further, where a donor earmarksfanda fw a specificactivity,the Board must tai^^
        mefunds be usedin that particular way. ForRsample, country singerGarthBrooks recently wou
        a lawsuit(January2012)againstan Oklahoma hoBpftal (Broois v. JStfegra Concordia Valley
       Hegiomrl Hospital) &rtiwretemofhis $500,000 donation because thehospital didnotusethe
       money for thespecific purpose of building andnaming a women's cotter afterhis mother.
       Brooks also was awarded $500,000 in damages, haanother examph, the CaZifoxma Attorney
       General sued directors and officers ofma Monterey CountyAIDSProject fMCAP") for alleged
       misajpropriafion andmisapplicaticn ofa$2J? arilKoadonation ?tid also breachof the duly of
       carefor faihae to properly overseeUse •03c offunds. The ssttiemenl (alsoJanuary 2012) crested?
       $1.0million fonddedicated to theoriigiafll earmark ofthedonation - to provide housing for
       mdmduals with HTV/AIDS - and barrfid 16 former MCA? officers and directors Sam serving as
       a fiduciaryofany Californiacharity for atlesstfive yews.

              Donations made to the ZOA afterthe RevocationDatepresumablywere made to advance
       theobjec&veajsnd purpose of fee ZOA*b#iti§ut^;^thatd^
       ccmiributiong have actually been madeto aooiher organization andthatthe ZOAdoesnot have
      control over those donations.As indicatedpreviously,the FJC SummaryofProcedures and
      Rulesibr Coilerstrro CHvingAccount*wtioi ti» FJC Collective Giving' LetterAgreement
      provide that: (I) allfunds received byFJC will be subject to fees, winch, fee' theinitial term of this
      Agreement shallgenerally be (A) an initial fce of two-five percact(2-5%) of fil funds recflived
      by FJC designatedfar the Group, phis (B)an aMwal feeof onepercent (1%) ofdieaverage daily
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 35 of 94 Page ID #:76




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         balance oftheassets held intheCollective Giving Account; (ii) theFJCh&3 fhe right to reject
         contributions ofanyasset end toclose such account atany time and forany reason; (iii) theFJC
         ownsthe assets in eachCollective Giving Account oatriaM andhas complete control over fhem
        frrr thecharitable purposes ofFJC. The Advisors fie.. ZOA) do not have any power to restrict
        theabsolute rights ofFJC asownee ofme assets (Emphasis added); and (iv) the FJCwill
        distribute funds contributed, andincomeearnedby thesefunds, generally to charitable
        organizations described inSections 501(cX3) and 509(a)(1), (2), or(3) ofthe Interne! Revenue
        Code as itnow masts oras it may be amaoded. SmcetisZOAhasIostitsito-e«mpt!rtarus,we
        undsrsfemd fhat all of thosecontributions are being'STOrehoused" at theFJC, andnot distributed
        to the ZOA. In errs opinion, a donor has a righttoknowthesefects, theZOAhas a duty to
        disclose,andiherefcos a donor mayhave a verystrong claimagainst notonlythe ZOA but also
        the mdrvidualBoardmembers.Ihe materialityerfthe loss oftax exemptstatus is clearly
        demonstrated by thestatement expmsedby at leastone large donor who controls a nonprofit
        entity thathe was uncertain if his organization, pureo^ to its own missdon and rules, would be
        able to doaate to theZOA at thep«seattime in light ofitstax-exempt ievocation, Iu addition, a
        donor may seek rescission tofbjee theZOA toreturn the donation based upon a claim thatthe
        rmsrerrjtefioitHtioBlhalti» charity is a quaK§ring cffganization nullifiedtiw bargained for
        consideration.

               V/hUe we believe me failure to dsolose is inexcusable, oomrwurirh^ thai Aureate the
       troubling actions bymeZOA to selectively disclose theloss oftax-exempt status ona case-bay-
       case isolated baas to only a fewofthe argamzHtio»*s most prormnerjl donors, andto even a
       fewsrnumber ofitspotential donors, ham efforttoavoidtheconsequences ofbadpublicity, the
       National Presidect hasrepeatedly concealed the critical lossof tax-exempt status, at leastinitially
       from die ZOA Board, and continues toconceal these facta from tho ZOA cormniaity andthe
       public at large. This discouragement ofdiscussion and dissanf, and avoidance ofbed publicity
       reveals a striking :fi$cro by the Nattond
       Smctians by nothaving xegnlar reportiagprocedures or coDanunee structure? inplace toensure
       disclosure tothe Board ofmajor ri^s tothe ZOA. Oneneedlook no&1herthanthe recent
       actions bythe Pemasyfcenia State University related to the child sexual abuse committed byJerry
       Sandusky to view a roarhnap ofhow not to operate.

              Further, selective dissemination ofmaterial nonpublis iirfbnnafian is prohibited by the
       Securities and Excharjge Ckinretission ("SBC"). Inde«d, SEC Relation FD is a specific setof
       rules set i^byfJae SEC m20f»in respcraae4Da^                                                     ..
       information to securities analysts and selected institutional investors before theyreleased it to the
       general public. Allreporting companies pre subject toRegulation FD. A repcrting company must
       make public anymaterial, nonpublic iiribnnation (oral orwritten) disclosed bya covered person
       (e.g., officers, directors) ofa company tothe financial coimnunrty and security holders. The
       intent behhidRegulation FD is to ensure thatsecurities analysts andselected mstitutional
       investors arenot ableto make a profitor avoid a lossattiieexpense ofthosewhodidnothaYC


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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 36 of 94 Page ID #:77




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        access to the same mfhrrnatiaa.In addition, m«rules are intettided to help bringaboof the
        transparenc/and fairness ofthe disseiBiautiari ofinformation. There is aojustification for the
        selective dissemination ofmaterial nonpublic information onanisolated basis toa few of3is
        ZOA's iarj^<»nlribntois.A]cmto thepublic c<Mrn^any a>nteso^ trarisparensy and fairness of (he
        (fissennnatioa ofinfbtmationis consistent withthe ZOA's objectives and purposes reflected in
        Article JJ(f) oftheConstitotioa* "To foster and encourage among itsmember an abiding
        appreciation for thedemocratic way oflife indie United Statos ofAmerica and the ideals upon
        which it is grounded."

               B.      Can the Board and the individual members defend against a claimmade
                       by donors by aBegmgthatit/they "reasonably ielied"Ttpon theNational
                       Presidentand thereforeti» Boardacted in goodfhiMIntnm,i5the
                       NationalPresidentjustified in relying oa me ZOA's independent
                       accountants? Areanyprotections setforth byFederal andstate law
                       comBsrred on volunteer Board membeis?

               Unless an officeror dfcpsctor hasknowledge that makes relianceunwarranted, an officer
       oi- director, ia performing his orherduties to theorganization, amy My on {wsitten ororal)
       information, opinions, leports orstatements, including financial statement and omerfinancial
       data, ifpieparod orpresented by: (i)one or more efficee? orerrrpjoyees ofmenonprofit whom
       the officer or director believes in good fiith to l>e«Esldo»adcon^dieartm1hem^-s
       pruseated; (E) legal counsel, public accountants, orother persons astomatters which ihe officer
       ardirector believes in good fsdflito bewitbmtfaepetsoh'sp^feBsional or expert competence; or
       (ill) hithe case ofreliance bycurectars, acommittee ofthe board oawhich the director does not
       serve ifthedirector believes in good feirb thai &*> committee merits eenfidaoce. This reliance
       provision iscodified byNew Yoric law inSection 717(b) oftiw Iv'PCL which provides in its
       entirety as follows:




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 37 of 94 Page ID #:78




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                        *§ 717. Duty ofdirectorsendofficers.

                            (b)In discharging their duties, directors andofficers, when acting in
                       goodfaith,may reryan rn&rmation, opinions, reportsor statements
                       mdudingftnaiKaal statements andother financial date, in e&ch case
                       prepared or presented by. (1) one ormore officers oremployees ofthe
                       corporation, whom thedirector beheves to bereliable aadcompetent in
                       •fce matters presented, (2)counsel, publicaccountants or otherpersons as
                       to matters which the directors or officers behave to be withm such
                       person^ professional or expert competence or(3)a committee ofthe board
                       upon which fnsy donotserve, dulydesignated in accoidanco with a
                       provision ofdieoeatificate ofincorporation orthe bylaws, as to matters
                       withinits designated authority, whichrxunntittee the directors ox officers
                       believe to mrot confidBnce, solong as in so relying theyshallbe actingin
                       goodfaith and withthat degree ofcaie specified in paragraph (a) ofthis
                       section.Personsshallnot be considered to be acting ut good f3itii ifthey
                       haveinowfodge concerning thema3»r in qusstwm ttat would cause such
                       relianceto be unwarranted Personswhoso perfbm their curtwss shall
                       haveno liability by reason ofbeingorhaving beendirectors or ofBcers of
                       the corporetiori"'

              It isaxkanatic in ouropinion that the stignw associated with Tlw loss oftax-«^
       byth& ZOA. was asufficiently compellingreaso0 for tire National President toconceal and/or
       discourage discussion ofbisownnegligence mfailing to maaage theZOAiadependeiit
       accountant relationship and allowing ti^ZCAtofautoM^ itstaxreturns forthree consecuti^
       yell's. As indicated in Clause (xiv)ofFacte above, we understand that the"National President has
       expressed hisbeliefs; (1)thattheZOA's aaxnmtmg firm, Loeb &Troper, LLP, alone, which
       was hiredtoprepare the IRSForm 990s, has sole responsibility for the ZOA'sloss ofits tax-
       nxempt status; (2)medeosfoii to utilize the FJC tosetas the recipient ofchsiiEble funds
       received fiom donors of ZOA during theloss of itsta&-exeinpt statue is sufficient toprotect ZOA
       donors Scan disqiiaHfication oftheir charitable contributioas after fee Revocation Date; aad (3)
       there is no need to notify ZOA donors astoihe lossof ZOA's i^-ersramrt status. The National
       Director knewaboutthe loss of tax-exempt status andfsiled to promptly convey thatiirformation
       to the Board,

              Asindicated ki the statutory language above, [plersons shall notbe consiaerud to he
       acting m good •forth ifThey naveknowledge amcmtVW thematter hi question thatwo»# qraw-
       Such relianceto be uawmmted. haoror opinion, a disgruntled donorKkdyhas a strong position
       that the individual Board members should not have relied on the assurances ofthe Natioasl
       President in acquiescmsiiot to disclose theZOA's lossoftax-exempt stemsin light of the
       National President's inherent amflxct ofinterest and reason to conceal or inimmize his own


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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 38 of 94 Page ID #:79




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          negligence in allowing the organization tofailto file its taxretains forthree consecutive years.
          TheNaticmai Presridect has sejvedia stubcapacity forapproximately 18years. Duringthat
          teniae, U*S Farm 990spresumably were filed on a routinebasis. To new claimthat the faikD-e to
          filewassolely dueto *ho fault ofdieZOA's outside accountants is disingenuous atbest and
         morelikely obtuse. Wherewerethe internal crastiols rethe ZOA's compliance with its financial
          and tax reporting icquirements? Under tka circumstances, theNational President's beliefe fhat
         toefailureto file las.rooms for three consecutive years was aatirelythe fault of (beZOA's
         outsideaccountants, that- the woAaroand with the PJC is sound business practioes,and that the
         ZOAneed not disclose the loss of its tax-exempt statusto its donors, are unwarranted and the
         icdividualBoard members cannotrelyuponthose statements. Deference to the National
        President in Hgbt ofha kharaji conflicts andielf-huerest should bereduced to a minimum.
         Failureto ensure that the ZOA operatesaccording to law and its govema^
        abdication ofthe Board's exercise of objective and independent judgment. TheNational
        President certainlyshould haveinowa ute&ejretema werenctf filed for trjra
        andhis inattention is taukmounttonegligence in allowing that Mure to occur. Ihe Board
        cannot reasonablydeferto u^NaticmdPresicleM'srepiesentoricins sndreOTmmendstions whan
        the sourceofthose representations is so obviously setf-htterested. Underthese carcunutaaces, it
        isouropinion that, a donor likelymay state a strong daim tosttheindividual Board members did
        notactin goodfaithif they continue to rubber stampactions requested bythe National President
        anddefer to the National Presidentwithout anarUieting an independent investigation and
        demanding regularreporting of suchrisks facing the ZOA

                Protectionsfor the ZOA BoardMsmbers:

               in the hrterest of encouraging qualified individuals to serve ontheboards of nonprofit
        corporations, the lawhas developed a variety of devices to helpinsulate boardmembers train
        most Jdads ofliability.

                (i)    TheFederal Volunteer Protection Actof 1597 andNew YorkState Law

                On June 18,1S97B Congress passed the Volunteer Protection Act ofi.9972 (the
       "Vohmtoer Aofl. Thepurpose oftheVolunteer Actis to Hmit kivsuito against volunteers
       serving nouproiit public and private organizations andgoverjomental agencies. Unfoxtunately,
       like similarstatutes at the stateIeveL manyknowledgeable observers believeit has not achieved
       tins. goal.




       2See, €2U.S.C. § 14501., etseq.


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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 39 of 94 Page ID #:80




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                  The Volunteer Act and New York law3 both limit the personal liability ofuncompensated
          directors aadofficers who acted in good Jaffa and in thef^st interests of theirnon-profit
          organizations, andgenerally provides that ifa volunteer meets certain criteria, thatis a complete
          defense to anactionandthereis no liability. Ifthevolunteer doesnot meetthosecriteria, he ov
         she may still have some protec^onfroraliaHlity, aslrmgasifae volunteer hasnotengaged in
         specific types ofprohibited conduct (Le^ grossly negligent ack andtortuous cooduct). This
         protection limits1h& imposition ofpunitive damages andlimnstherecovuryfiom a volunteer of
         noD-ecoBomic damages, but probably doesnot timit me liability ofvoiunteers for economic
         damages. Tie Volunteer Aotdoss notprohibit lawsuits against volunteers, but only provides a
         defense if aadwhen a lawsuit isfiled The Volunteer Actgenerally pre-empts wmfltoting state
         laws, applying to allvolunteers unless a state passes a statute specifically eliminating the
         applicability ofthe Volunteer Act to its ritiiBas. Statolawsmore protectiveofvolunteers are not
         pre-taDpted. The Volunteer Act does not apply tc anaction brought byfhe m^nkation against
        the volunteer, nor does it limit ihe ^sibsB^ of the orjpuiiiation itself,to the esvent it would
        otherwisebs lespansible for the act ofthevolunteer.

               Theproblem withiheVolunteer Actapproach is that,wherestrife are notaltogether
        prohibited, plaintiffs' counsel canusually frame the compuunt to oome withinthedrcurostances
        inwhich suits arepermitted. Then, even ifavohartaer isultimately absolved ofall liability under
        the statue,thai oocutb oolyafter gomgthrough at least somelitigation,at often substantial coatto
        the voIurxtear*s peace ofmind and pocketbooL

               A volunteer, forpurposes of fheVolunteer Act, is anyone who (a)performs cervices
        (deluding officers, directors, trustees, and direct service vohmteers) (b)for a nonprofit
        organization or governmental entity,and(c)receives no compensation (although reesomble

       3]NPCL Section 720-a. which provides hiitsearfrety as follows:
          § 720-a. Liability ofdirectors, ofJSocrs sadtrosteas.
          Except as provided in sections seven hundred runfiftun and seven hundred twenty ofthis i^xspt-w, aad
       except anyaction or proceeding broogfct by theattorney general or,in thecase of a charitable trust, sn
       actonorproceeding agaimi atnistoebroi^ bya r^                         trostj ao parson serving without
       eompunsafion as a director, officeror trusteeof a corporation, association, oxgattization a- trust
       describsd in section501 (o) (3)ofdieUnited States internal rewwiue oodi shall be liable toany person
       etherthan suchcorporation, assodatkm, organization artrastbasftd solely on his or her conduct hi the
       execution ofsueh-oSkenaleos theconduct ofsuch dkector.-crffieer ortaste©with respect:©theperson
       asserdngliabiliry cousrffiriM grossrieg
       assarting suchliability. Forpurposes of thissection, 3uch c director, officeror uustee Ehall notbe
       canaidwed campe«s«£ed solaJy byreason ofpayment ofhis ox herfc?a!al Expenses incorrsd in attending
       meetings c»'otaerwisa in the execution ofsuch office.




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 40 of 94 Page ID #:81




                                    Seton &Associates _
                                                    AfAWCDRPORATION
                                   8730W8sK« Bowkwitt Suite 41)0, BeverlyH'fc, California 90211
                             Telephone; (310} 557-193 Faolmite (2i3) ?«-49^S fnfp»«tonlawRroua^cm



          reimbursement forexpenses incurred is aliowed and (d) does notreceive airything ofvalue in
          excess of$500 peryear, in lieuof compensation. Accordingly, since alloftheBoardmembers
          otherthanthe National Director provide services without ccmpenssuion to the ZOA, all except
          fox the National Director would beprotected from liability (with therelevant exclusions) under
          both fee Volunteer Act and New Yofk state law.

                 in short,the intention ofthe Volunteer Act is aitmirabtes hit itslanguageis flawed, and is
         unlikely toprovide significant protection to volunteers. It willnotshield manyvdttntesrs from
         having to defend a lawsvot, evenifthe Volunteer ActuHimately protects themfrom judgment

                 (ii)    IndemnificationProtections

                A board member's standard ofcare bh& applicable limits onliability are generally
         governed bythecorporate code ofthe state ofincorporation. The NPCL authorizes New York
        nonprofit corporations to indenuitfy tl^ offia;re
        lawsuits arising £oai their actions taken inthe scope oftheir duties, provided thattheirconduct
        was notwillful or reckless. TheNPCL requirfa a finding by The Board thatfhei^
        member or officersatisfied enumerated standards of conductNonprofit emporafions frequently
        incorporate diestatutory indemrdfication powers intheir certificate ofinooiporatiou orby-lews.
        Asindicatedpreviously, wehave nothad anopportunity toreview theZOA ccatiflcate of
        incorporation and, accordingly, our comments remain subject tofurther review ofthat document.
                TbeWCL also recognizes a. corporafiou's autiswhy toprovide indemnification beyond
        that specifically authorized bystatute, which is frequently accomplished byrx)ntract The
        advantage of a contract, m addition to thejbcressed scope of coverage, is thatfhescope of
        coverage cannot bedecreased oraltered by a change infhe law, certificate ofincorporatiou, or
        by-laws. We havenothadanopportunity to review any ZOA rxmtracts, including anyagreement
        withtheNational President end,ecccadtngly ourcomments remain subjectto further review of
        thosedocuments. TheCoastitutioaia wlentwlul respect to anymSemrMcationprm-isions so that
        document does not limit the personal liability ofthe directon? and officers.
                (Hi)    Directors' and OfiEcsr3' ("D&O") Insurance Coverage
               Tno risk of exposure to personal liability may beinduced or diminatcd through D&O
        insurance policies. Under NPCLSection 726,nonprofit corporations arc granted thepavrar to .
        purchase aadrr>afr|t«in insurance toindemnify theirdirectors andofficers ifthey anted in. good
        faith. If the ZOa mahtfains such D&O insurance coverage, the terms of that policy should be
        analyzed to determine whether if grants dieZOA's directors andofficers additional protection
        from personal liability.




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 41 of 94 Page ID #:82




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                                   8730 WfehlreBot lava.-* Suite<Q0, Beverly Hffls, California S0211
                             Telephone:(31C) 557-1323FjcrimHe fZB) 947-4948 )rifpgsctOTl3wgn>ut),trjrr|
                                                   iviiWiyii'orrafK&fWJrirtffsgpm


                 C.      Proceduresto RequestReaoactiveReinstatement ofTax ESeempt Status; Is
                         the ZOA lilteryto receive retroactiveremstatoment. from the IRS to the
                         Revocation Date (May ]5,2011)?

               The IRS has set forthin Notice2011-44 the parameter for organia^ccs larger ihan
        $50,000 in grossannual revenues to request ^e&oactive reinstatement" Although the grant by
        theIRSofretroactive lehurtatement to the Revocation Bete (May 15,2011) is theoretically
        possible, it is byno means guaranteed. Several fads malte Udifficult for the ZOA to show"good
        cause"for its failureto file its IRSForm990tax returnstor tiuee consecutive years.First, it is a
         substantialorganizationthai has been m. existence tor many years andshould have beea familiar
        with the rules. Seoond, itsNational President is exparienced(e.g., 12years in that officer
        position), veryhighly compensated, andshould haveensuredthatinternal controls were
        establishedand followedto majptam ZOAin compliance. Third, arguing that it was the fault of
        die ZOA independentaccountant, Loeb &Troper,LLP, alone,beliesthe experience and
        scrphisticatkm criteria of the National President. Fourth, notjust one but three ceadlines were
        missed; doeSuture to file tax returns for three c»:nse<^ve years was a substantial fiulureth^
        demonstrates materialweakness in ZOA marj^ement and ineffective and a lackof independent
        supervision by the Board, in our experience, ifthereis no saaificial lamb (forexample, the
        replacement offhe ZOA National President and/or ChiefFinancial Officer/ChiefAccounting
        Officer), it will be difficult for feeZOAto demonstrate that it has corrected fhe reason for its
        failure to abide by the law.

                It hasbeea.more thanfive months sincetheZOAreceived theIR5 Notice intormrngtha
       ZOA ofthelossofits tax exempt states eflbctive May 15,2011, and yei the ZOA has notfiled
       its delinquent returnsorits appKcstion toricinstatement as a tay-tsueanpt crrgatuzation. Onceit
       does, and assuming the appKcafion is tdtimately granted, the ZOA'srax exemption willonly
       become effectiva as of thedate ofietostatemeut acceptance (the ^Bingtetement Date*1). Ihiring
       the"gap"period between theRevocation Date(May15,2011) andtheReinstatement Date, the
       ZOAwill not be exempt endall d&tributions to it willeot be allowed The onlyproccdoxe to
       euminate that gap will be ifme IRSapproves tins ZOA's ramstatemeut rtH-oachvely to the
       Revocation Date.Iftilegapremains, feeZOA will be required to fileIRSForm1120 forth©
       applicable tax reporting and m&imatiati periods.

             To reinstate its tax-exempt ststas, dieZOAmust pxomptiy fileanew IRSForm 1023
       ("Application far Recognition ofExemption Under Section 501(c)(3) ofthe Internal Revenue-
       Code'n,pay an $850 applicationfee, andfile the delinquent IRS Form990s for each of the three
       years. To assist die IRSin processing the application, the IRS Form 1023 shouldhave the
       phrase"airtoanaticslly revoked"writtenat the top of the application form and on Qie envelope in
       which it is submitted to the IRS.

       !^)://Wwv^irs.pov/piib/!re-droTiA-,tl-44.pdf.


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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 42 of 94 Page ID #:83




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                                    Seton & Associates
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                                                      AlAWCDRPORAmH
                                 B730 Wfchii* Boutevani, Suite 400, Beverly Hills. California 902IX
                           Telephone:(310) 5S7-13J3fctfmite (313) 547-4943J&fijgSSC




                TheZOAshould attach&letter to its application which requests that the raiastaiementof
        itstax-exempt status be retroactive, exteahng back todieRevocation r^ate. TheIertte^
        explain why toe ZOA firiied tofile the IRS Form 999s for three consecutive yuas pursuant to
        Section 5(0.1) of IRS Notice 2011-44 inchjding:

                       « A written statement setting forthall of the &<^ thai supportthe ZOA's claim
                         fin- reasonable causefor faffing to fileanIRSForm 990 in each of the three
                           consecutive years andover theentire consecutive three-year period, including
                           a detailed description ofallthefacts and circumstances thatledto eachMure
                           andtoe coirthTOousfJah^ui»d^             ofthe failures, andthe steps taken to
                           avoid or mitigate the failures;

                      o A written statement describingthe safeguards ihe ors&&zs&oa hasput into
                          place to ensure that tias organization will not fail tofile returns ornotices in
                          the future;

                       * Evidence to substantia fdl material a^e^ oftbesewritten steterncaits;

                       < Properly c»ir^Ieted sadexecuted IRS Pom SSKte
                         and after die consecutive fhree-yepi1 period thatthe ZOA failed tofile them;

                          An original declaration, dated and signed under peaaities ofperjury byan
                          officer, director, trustee, ox other official who is wflioiized tosign for the
                          organizatian. The form ofthedeclaration is setforth in Section 5(.01X6) of
                          IRS Notice 2011-44.

               The. IRS will only grant the request fbrreteactivsrdmstoteaned: ifit determines that fhe
       ZOA had"reasonable cause" forniis&ing IRS Form 990 filing deadlines foreach ofthe three
       years and also for fMling tofile toe IRS Form 990s atany time dmingfJw three-yearperiod
       While die ZOA relied on the independent accountants, Loeb and Troper, LLP, to file the IRS
       Form S90s, the ZOA should address whether theNstional President and other executives bear
       lesponsibility forassuring that completed IRS Form 990s are timely filed. Intight ofthe
       National President3s erxperieoce andhigh ajmpensation, toeIRS maywellconclude thathe bears
       much ofthe responsibflityfbr the feihrre to womplywith fhe law. T&timately, the ZGA must-
       provide evidence that it exercised ordinary business care and prudence indetermining and
       attempting tocomply with itsreporting requirements for each ofthe three years and over the
       entire three-year period, butwas nevertheless unable to fife fhem forthree consecutive years.
       The ZOA also willberequired to demonstrate thatit has taba corrective action, indnding
       possible changes inrnanagement, and established and implemented policiss toensure that the
       Mure will not reoccur and that fh© ZOA will otherwiseoperatein amferznity withfhe law.


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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 43 of 94 Page ID #:84




                                Seton &Associates
                                               A WW CORPORATION
                               B730WNshtre3outev8r4SJrte40aBi^rfyHIll^CaBfbrnlsS}211
                         Teiephone: (310) 557-3923 Fscslmfe(213) 947-4348 jfifegSSMfe&SOmsam
                                             &mjSanindaffi!daJ£££ffiit




              According to Section 5(0.3) ofIRS Notice 2011-44, the IRS will not consider the ZOA's
       request for rfttioactive reanstetementunless itis submitted, together with_a properly completed
       and executedapplication for ie^                                                 15 months offhe later
       ofthedate oftheIRS Notice ordie date onwhich the IRS posts toe name oftheoigariiaatioB. on
       the Listavailable onthe IRS website (orotherwise provides notice oftherevocation tothe
       public). Tiie 15-monflidrop-dead deadlineapptxts to be July ?.to\"h.




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 44 of 94 Page ID #:85
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 45 of 94 Page ID #:86




        MEMO.


        To:     Michael Goidblatt
                David Drimer
                Steve Goldberg

        Date: September 5, 2012

        Re:     Urgent Bthicfi Concern


       Dear Michael, Dave, and Steve:

       It is withreluctance andtrepidationthat .1 vuitethis e-mail to you, but I believeI have been
       placed in a position of havingno otherchoice. I was hoping thatI couldjust do myjob at the
       ZOAwithoutbeinginvolved in any internal disagreements aboutZOA governance and
       compliance issues. I fear, however, tiwtI ambeingthreatened withpumshmentbecauseofthe
       issues Stovehas raised. Here is what happened.

       This morning I i&ceived a disturbing phone call from Martin which he demanded thatI not
       disclose to anyone else, presumably theNational ExecutivB Director andmembers ofthe
      NationalBoard, the substance of what he andI discuss. I find this disturbing since the issues he
      bringsup, bothnow and before his surgery,mostoften do not relate to Isiael and my workload
      butto detailsaboutpoliticalinfightingat theBoardlevalandto disparaging Steve Goldberg,
      whois one of my supervisors. I do not ieel comfortable beingorderedto ccnceai! from board
      members and senior smpfoyees issues that relate to ethics andiegalitj' of the ZOA, which include
      threats against myjob, even though I really love myjob andbelieve I'm doing imuorisnt worit
      forthe ZOA, and by extension, Israel and the Jewishpeople.

      Mori i-eiterated several times that he is the President and pays my salary, implying that he cculd
     therefore fire me at will ifI do somethingthatdoes notpleaseaim or is perceived as bang
     disloyal to him He suggestedthat if I repeatany ofthis information to othras,I will befired
     However, my commitmentto Israel and to theZionist principleswe hold dear have not been
     questioned; in feet, he praised my commitment to ourpositions and suggested thatI could grow
     with the organizatioa Theimpbeation is thatI couldadvance if I'm loyalto him personally,
     which beequates withthe ZOA Ho explicitly saidthat any perceived lackof disloyalty tohim
     would be cause for tenTuaation.

     The crux ofthe issues thai he complains about relateto Steve's exposing the iraner ofthetax
     exempt status to theentire board Hehasmentioned, to meseveral times thatwemust remain
     secretive shout the tax exemptstatus issue. Tm notin a position to offerany thoughts onthe
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 46 of 94 Page ID #:87




        legalityof thismatterand whatis required, and it is notmy placeto take sides in this issue.
        Howervsr, ss &fundraiser, I wouldlike to make sure Tm 100%in compliance if I'm not up front
        about gut tax status.Not do I feel ajmfortebls beingorderedto keep our conversations secret
       because he hasrepeatedly scolded me forthings thatI didnotdo wrong; he has repeatedly
       threatened to fireme if I don't raisemoremoney (andnowifI don't keep our conversations
       rarjidential); and he has repeatedly expressed his dissatisfaction withthe Los Angeles chapter
       for causing himaggravation andtrouble. Hecontinues to express his dtssatisfhction with Steve
       for "attacking" him andalsoexpnessry blames Steve for hisheart problem, which puts me in an
       uncomfortable position. Ifesaid Steve's harming dieZOA with hispursuit of dietax exempt
       issueand that,by extension he's harming me. Ihe logic is thatMort, not the ZOABoard, is
       responsiblefor my employment because Mort"paysmysalary."
       I love the ZOA becausethe ZOA bases its positionson principleand conscience, so I fesl
       compelled to express thatI cannot in goodconscience be askedto hide information thatI feel
       affects the ethical andalso legal operations ofthe ZOA I hopethatthis matter could be
       addressed withoutunduestress to Mort whomI know is still recoveringfrom surgery.

      I neverwanted to be a whistloblower. I just wanted to domyjob, andI still do.

      Yours truly,

       Oka. Gfy
      OritArfa
      Executive Director, ZOA Western Region
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 47 of 94 Page ID #:88
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 48 of 94 Page ID #:89




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                                                                                       2a.'. v*«; ao,< sk.'. J v. t v ^c.fex >< -




           MEMQ

           To:     David Drimer
           CC:     Michael Goldbktt, Chairman
                   Susan Tuchman, Director, ZOACenter forLaw& Justice

           Date: September {2,2012
           Re:    Response to voiy memo of9/27/2012

           Dear Dave

           Diank you for your memo <fc,ted 9/ZW2012. This matter has been very stressful, and! iwijusf
           trying to do myjob as best I can.
       However, my concern that Mort would tike to"punish" roe for Steve's raising possible problems
       relating to disclosure ofthe tux exempt status issue to potential donois isbased on very specific
       things Mort has said toroe. Up until toat point my service tctoe organization had been highly
       praised I bdieve that he requested that I keep conversations confidential because he saw me as a
       whistlcblower.

       For example, Mort made tine following statements over the course ofseveral conversations.
       1. Althougj Mort asserted that we have no afYnmative duty to disclose the loss ofthe tax-
       exempt status, he was still outraged that Steve Goldberg wes sending e-mails to the Board
       regarding this matter. He expressed worryon more man one occasion that the matter ofZOA
       losing it* non-profit status was going toget "leaked" He said tfa3 matter offee loss must be kept
       quiet He said, in pursing toe matter, Steve Goldberg was feinting the image ofthe LA chapter in
       the eyes ofthe National Boerd

      2. He discussed that closing the LA chapter would be in direct response (ie., retaliation) for the
      "trouble" Steve Goldoerg was causing. He even cited a conversation he had with Abe Foxmaa of
      ADL who syrimatbized with Mori's plight and who said he also had to dose down achapter fl
      bdieve itwas to Texa*) because die board there was causing Foxmaa "trouble." Mort said he
      could no longer fund a chapter that Is causing him "aggravation."
      3. He consistently assailed Steve for his "campaign against him." He has even asked me to
      intervene toget Steve io stop. He argued that sincedie National Board dislikes Steve, whom he
      called "crazy" and "apsychopath," I would be directly affected since Steve, is chair ofmy
      chapter. He ateo said atsome point thatI would be the one who suffered from problems caused
      by Steve.

      4.      I have received Mori's direction savwal times shout making fundraisiag a priority.
      However, he brings itup almost every time he calls me, reiterating that itis acondition ofmy
      keepingmy job. I consider it aform ofintimidation, espscially since i don't thmk omer
     sxf«utive directors ofother regions ara under such pressure. For example, I was told that
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 49 of 94 Page ID #:90




        Michigan does notturnanymoney it raises over to1he national office, which still paysfor the
        executive director there. Why would I be treated differently?

        I love the ZOAand am doing mybest underdifficult circumstances. I am committed to trying to
        raisefundsfor the region. I'm sure you know the ZOA hada very bad reputauon in Los Angeles
        becauseofall the turnoverof executivedirectors wbopreceded me, as wellas Mort's reputation
        as an abusive boss. Ihis recent publicity about the tax situation hasnot helped our imageor our
        fundraising efforts.

        3ulLI think I have done s.very goodjob raising the ZOA's profilein a positive direction,
       orating up with innovative programs andattracting younger people to theorganization as well as
       estoblishing our brand intheLAcommunity. I am confident wecan raise money if given
       reasonable time. I want to bejudged fairiy, under theseme standards applied toother executive
       directors of the othes regions, rather thansingled outforinternal political reasons thatare none
       of my business and that do not interest me.

       Your memo provides mewith reassurance, and I appreciate your sending it I dohave some
       questions.

        1. You wiitethat I report to you, which ofcourse I understand, butalsothat Steve Goldberg is
       notoneof mysupervisors. Does that mean thatif heasks me to arrange a local meeting ofthe
       board, I am todisregard him? DoIreportto anyone atthelocslboard? I remember early in my
       tenute-there wasan issuewith Sandy Stem, undI wastoldthat1was to reportto Steve and to
       you, but notto Sandy. Has thatchanged? Do dieexecutive directors oftheother regions also not
       report to their boards?

      2. Myunderstanding is thatSteve isthe National Vice Chairman if he asks mea question, amI
      supposed toanswer him? Can I share information with him about iheZOA? "What if another
      national board member asks me a question?

      3. As I putinmymemo ofSept 5,2012, Mort did tell menot todisclose the tot situation to
      actual orprospective donors. Now that the information ispublic, is that stili thepolicy? What
      exactly am I supposed to sayif asked? What ex?.clfy amI supposed to say if I ammeeting with a
      possible donor butam not asked? DoI volunteer anything about our tiix. ststu3? I want tomake
      sure I follow ZOA's policy to the letter

      Again, I appreciate allyour support. Please advise as tomy questions above soI can make sure a
      em in compliance with the ZOA's policies and procedures.


      Yours truly,




     OritArfa
     Executive Director .ZOA Western Region
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 50 of 94 Page ID #:91




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Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 51 of 94 Page ID #:92




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         MEMO



         To:     Mort Kleia, President
                 Dave Drimer, National Executive Director
                 Michaal Goidblatt, Chairman
                 Steve Goldberg, National Vice Chairman
                 Susan Tuchman, Director, Center for Law and Justice

        Date:   October 12, 2012

        Re:     Concern soliciting ^onatioas withoutdisclosureof tax-exempt status


        Dear AIL

       I am sorryto write to you again regarding this matter, but it is a matter of conscience and I
       consider myself obligated to share my concerns with you

       I am dedicatedto raising funds for the ZOA; however, the recsat publicity ofthe loss ofour tax-
       exemptstatus,end negative feedbackTve beenrecsivingrYoin potential donors, has made this
       task extremely difficult and fraughtwith potentially unethical and even illegal behavior.

       Yesterday I outliaed two plans I have to raise fimds:

          1) A solicitation o-mail to our local list(atached)
          2) A proposal for a party at the ShangriLa hotel (atteched)

      I receiveda telephone call from Mori on October 11,2012 relatingto both items,

      Regarding die second item, I have been ordered to secure a major donor (a gift of at least
      SI8,000) to honor at the event We discussedreaching out to Sunny Sassoou, a potential
      contributorto the ZOA whamMort knowspersonally.

      Regarding thefirst item, ifi. a solicitation letter, I originally included mention of the tax status
      issue as follows:

         Please make a tax-deductibledonationto thefuture workofthe ZOA by eithergoing to ourdonation
         page of. ••• .,%vi ..,.•. <t or catling theZOA LA Office, Shouldyoa have questions regarding tfwtecently
         publicizedmatter nfZOA losing itstaxexempt status andtheplansfor reinstatement, please don't
         hesitate tc contact me or our Notional&cecui1\*3 Director, DavidDrimerat *'-£;••, r,-. f.... _;*/

     I believed it wss necessary to mention th& loss, in this letter and in any solicitation for that
     natter, following significant publicity about the issue. Mort asked me in his phone call not to
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 52 of 94 Page ID #:93




         mention theloss at alland tosimply state that people should make thedonation to"FJC- ZOA
         DonorFund1" He askedme to changethehue to: "Jf you haveanyquestionsabout the ZOA
         please don't hesitate tocall me and the National Executive Director.'"
         Besaid mmtioning the loss ofthe tax exempt status will only uiaease toe number ofpeople who
         know about it,andthat not"everyone inAmerica" knows about it, despite Steve Goldberg's
         insistence that every actual and potential donor has a right toknow. Mort said it is not illegal to
         conceal the problem, despite Steve Goldberg's arguments to the contrary. He added that nothing
         at tfw ZOAhas changed orhasstopped happening dua to the loss of our tax tstempt status.
         I find this dislurbmg onmany levels, First, I believe, without a shadow ofa doubt, tbat toconceal
        our tax exempt status is unethical and disingenuous. Fmnot s lawyer, and I understand thwe are
        conflicting views about the legality ofnon-disclosure, butTm inclined to worry itrnay be illegal
        and I do not want to taketoe risk. As former ExecutiveDirector of the CenturyCity Bar
         Association, I'veinquired with tax counsel I know from my work there who said tbat, while she
        has not investigated this matter in depth, she believes anorganization must disclose its tax status
        to potential donors. I do not fed comfbrtaDle engaging \n any potentially illegal behavior Would
        i£ be-possible tosee a letter from malified tax counsel stating it is not illegal to conceal our
        slatus?

        Mori's contention thattbe ZOA has carried onas usual is simply untrue We haveexperienced
        cutbacks infunding for programming, inducing a cancellation oftheannual dinner inNew
        York, toconserve money atthis tima Another negative consequence isthe cancelation ofthe
        LA office lease, despite its very fevorabfe terms. (This assumes toat Dave's explanationfor ihe
        cancellation is correct andthatSteve'sbelief thatit hasbeen done to punish ZOA-Los Angeles
       for pressing disclosure h erroneous). I have received negative feedback from potential donors
       who have stated thatthe loss ofthd tax-exempt status is a deal-breaker for them, despite ZOA
       designating ¥SC as?. holding entity. I submit to you torse e-msils that prove the materiality of
       this information (attached):

           1. Jesse Rosenblum, President oftheOC Chapter, who wrote that a board member resigned
              when learning about theloss end who also expressed deep dissatisfaction atlearning
              about this through the press.
          2. Lew Groner, Marketing Director ofthe /ewish Community Foundation ofLcs Angeles,
              whowrote thaitoofoundation advises donors to giveonlyto organisations with p. 501 c3
             in good standing and that the ZOA would not apply, despite die FJC work-around
          3. Mark Tanenbaum, a potential ZOA supporter, who also wrote be would not contribute to
              the ZOA until the tax issue is cleared up.

      It has been argued that revealing the tax problem hurts the 1IOA more than itdoes toconceal the
      loss. We have seen that, indeed, we have lost potential donors because ofthe disclosure. It is
      very embarrassing that this has happened, no matter what the reasons. However, I believe ithurts
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 53 of 94 Page ID #:94




         the ZOA even moreto remainsecretiveabouttho issueand especiallyto engage in unethical and
         illegal behavior. It undermines ourcredibility asan organization dedicated to truthand etoics.
          I regret thatI haveto keepraising thisissue, butZionism is a causetowhichI am dedicating my
          life. I loveworking for the ZOA andI value myjob. I want tomake surethe ZOA, and by
          extension, Zionism, succeeds. I'm afraid myjob is injeopardy, butit is my loyalty to the ZOA
         which drives rueto ensurethe organization operates ethically andlegally, even if thereare short-
         term setbacks for beingfully honest to potential donors aboutour tax exemptstatus.

         Looking forward to hearing from you.

         Yours truly,



         (Jut 04*
        OritArta
        Executive Director, ZOA Western Region
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 54 of 94 Page ID #:95




                                                 EXHIBIT B
        Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 55 of 94 Page ID #:96



                                                                               CONFORMED COPY
                                                                                    OF ORIGINAL FILED
                  GREGORY S. GLAZER (SBN 172197)                               Los Angeles Superior Court
                  ALISON M. HAMER (SBN 258281)
 >=               HIRSCHFELD KRAEMER LLP
                  233 Wilshire Boulevard, Suite 600
                                                                                        APR 12 2013
                  Santa Monica. CA 90401                                       j0hn A, r#rko, Bsec^s Offlcor/Clerk
                 Telephone: (310)255-0705                                                                -Deputy
                 Facsimile: (310)255-0986

                 Attorneys for Defendant

 u               ZIONIST ORGANIZATION OF AMERICA


             7

             8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

             9                                      COUNTY OF LOS ANGELES

            10

            11   ORIT ARFA, an individual,                        Case No. BC 503861

            12                        Plaintiff,                  DEFENDANT ZIONIST ORGANIZATION
                                                                  OF AMERICA'S NOTICE OF DEMURRER
            13   vs.                                              AND DEMURRER TO PLAINTIFF'S
a 1 ;
                                                                  COMPLAINT
            14   ZIONIST ORGANIZATION OF
                 AMERICA, a New York corporation;
            15   MORTON KLEIN, an individual; and
                 DOES 1 through 20, inclusive,                    Date:        May 31, 2013 [Reserved]
            16                                                    Time:        8:30 a.m.
                                      Defendants.                 Dept:        55
            17                                                    Judge:       Hon. Malcolm Mackey

            18                                                    Complaint Filed: March 25, 2013

            19

           20    TO PLAINTIFF AND HER ATTORNEY OF RECORD:

            21          PLEASE TAKE NOTICE that on May 23, 2013 at 8:30 a.m., or as soon thereafter as the

           22    matter may be heard in Department 55 of the above captioned court, located at 111 N. Hill Street,

           23    Los Angeles, California, Defendant ZIONIST ORGANIZATION OF AMERICA (hereinafter

           24    "the ZOA") will and hereby demur to the Complaint filed by Plaintiff ORIT ARFA (hereinafter

           25    ''Plaintiff')- This Demurrer is made pursuant to California Code of Civil Procedure section

           26    430.10(e) on the grounds that Plaintiff's Wrongful Termination - Violation of Public Policy,

           27    Wrongful Termination - Gender Discrimination, Conspiracy, Intentional Infliction of Emotional

           28


                 DEF'S NOTICE OF DEMURRER AND DEMURRfiR TO COMPLAINT
                                                                                                          4841-1873-5891
                 CASE NO. BC 503861
             Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 56 of 94 Page ID #:97




                            Distress, Negligent Infliction of Emotional Distress, and Unfair Business Practices causes of
                      2     action against ZOA fail to state facts sufficient to constitute a cause of action.
                      3
                                   This Demurrer is based on this Notice, the accompanying Demurrer, the Memorandum of
                      4
                           Points and Authorities, all matters of which this Court may take judicial notice, the pleadings and
                      5
                           other papers on file in this action, and such further evidence and arguments as may be presented
                     6     before the Court at the hearing on this Demurrer.
                     7


                     8
                           Dated: April 12,2013                                        HIRSCHFELD KRAEMER LLP
                     9

                 10

                 11                                                                              Gregorys. Glazer
                                                                                                 Alison M. Hamer
                 12                                                              Attorneys for Defendant
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                                                                                 ZIONIST ORGANIZATION OF AMERICA
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                          DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                          CASE NO. BC 503861
             Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 57 of 94 Page ID #:98




                     1          DEFENDANT ZIONIST ORGANIZATION OF AMERICA'S DEMURRER TO
                  2                                         PLAINTIFF'S COMPLAINT

                  3              Defendant ZIONIST ORGANIZATION OFAMERICA (hereinafter "the ZOA")
                  4      demurrers to the Complaint filed by PlaintiffORIT ARFA (hereinafter "Plaintiff) on each of the
                  5      following grounds set forth below.

                  6                               The ZOA's Demurrer to the First Cause of Action

                  7              1.      TheFirst Cause of Action for Wrongful Termination - Violation of Public Policy
                  8      fails to state facts sufficient to state a cause of action against the ZOA. Code Civ. Proc. §
                  9      430.10(e).

                 10                             The ZOA's Demurrer to the Second Cause of Action

                 11              2.     The Second Cause of Action for Wrongful Termination - Gender Discrimination

                 12      fails to state facts sufficient to state a cause of action against the ZOA. Code Civ. Proc. §

                 13      430.10(e).
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                 14                              The ZOA's Demurrer to the Third Cause of Action

                 15             3.      The Third Cause of Action for Conspiracy fails to state facts sufficient to state a

                 16      cause of action against the ZOA. Code Civ. Proc. § 430.10(e).

                 17                             The ZOA's Demurrer to the Fourth Cause of Action

                 18             4.      The Fourth Cause of Action for Intentional Infliction of Emotional Distress fails to

                 19      state facts sufficient to state a cause of action against the ZOA. Code Civ. Proc. § 430.10(e).

                 20                              The ZOA's Demurrer to the Fifth Cause of Action

                 21             5.      The Fifth Cause of Action for Negligent Infliction of Emotional Distress fails to

                22       state facts sufficient to state a cause of action against the ZOA. Code Civ. Proc. § 430.10(e).

                23       ///

                24       ///

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                         DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                         CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 58 of 94 Page ID #:99




                                            The ZOA's Demurrer to the Sixth Cause of Action

                 2          6.      The Sixth Cause of Action for Unfair Business Practice fails to state facts

                 3   sufficient to state a cause of action against the ZOA. Code Civ. Proc. § 430.10(e).

                 4


                 5   Dated: April 12,2013                                       HIRSCHFELD KRAEMER LLP

                 6

                 7
                                                                                         Gregorys. Glazer
                 8                                                                       Alison M. Hamer
                                                                          Attorneys for Defendant
                 9                                                        ZIONIST ORGANIZATION OF AMERICA

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                     DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                     CASE NO. BC 503861
          Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 59 of 94 Page ID #:100




                                        MEMORANDUM OF POINTS AND AUTHORITIES

               2   I.      INTRODUCTION

               3           This lawsuit arises out of Plaintiff Orit Arfa's ("Plaintiff") former employment with the

               4   Zionist Organization of America ("the ZOA"). The ZOA is a non-profit organization dedicated to

               5   promoting U.S.-Israel relations via educational activities and public affairs programs throughout

               6   its chapters across the United States. From October 24, 2011 until Novemberl9, 2012, Plaintiff

               7   served as the ZOA's Western Region Executive Director in Los Angeles. (Plaintiffs Complaint

               8   ("Compl") ff 5, 10, 16, 33-34.) Throughout 2012, the ZOA's National President, Morton Klein,

               9   directed Plaintiff to fulfill her fundraising duties on behalf of the ZOA. (Compl. fl 6, 18, 24, 26.)

              10   Without stating how, Plaintiff alleges that in asking her to perform her duties. Mr. Klein was

              11   harassing. (Compl. If 6, 18, 24, 26.) During the two months preceding her termination, the

              12   ZOA's National Executive Director, David Drimer, spoke with Plaintiff regarding whether or not

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              13   the ZOA intended to extend its lease for the Western Region's office in Los Angeles. (Compl. ff

              14   29, 32, 36.) Ultimately, on November 19, 2012, Mr. Drimer informed Plaintiff that the ZOA was

              15   terminating her employment due to its "business decision to close the Los Angeles office and

              16   relocate the office of the Western Region to Oakland." (Compl. If 14, 34, 36.)

              17          Plaintiff's Complaint alleges six causes of action against the ZOA and Mr. Klein:1 (1)
              18   tortious wrongful termination - violation of public policy; (2) tortious wrongful termination -

              19   gender discrimination; (3) tortious conspiracy to terminate Plaintiffs employment; (4) tortious
              20   intentional infliction of emotional distress; (5) tortious negligent infliction of emotional distress;

              21   and (6) unfair business practices. The crux of Plaintiff's claims is that the ZOA allegedly

              22   wrongfully terminated her employment after she complained regarding her concerns with the
              23   organization's tax exempt status. (Compl. p. 3-10.) However, Plaintiff does not allege which
              24   statute, rule, regulation, or constitutional provision the ZOA allegedly violated with its handling
              25   of its tax-exempt status. Nor does Plaintiffs Complaint allege sufficient facts to state claims for
              26

              27
                   1Plaintiff has not served the Summons and Complaint on Mr. Klein. Therefore, even though
                   Plaintiff's claims cannot be sustained as a matter of law against Mr. Klein because he was not her
              28   employer, this Demurrer is only filed on behalf of the ZOA.
                                                                       1
                   DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                   CASE NO. BC 503861
          Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 60 of 94 Page ID #:101




                        gender discrimination, civil conspiracy, intentional infliction of emotional distress, negligent
                   2
                        infliction of emotional distress, or unfair business practices. Accordingly, the Court should
                   3    sustain the ZOA's Demurrer to all six causes ofaction against it.
                   4    IL      LEGAL ARGUMENT

                   5
                                A.      PLAINTIFF'S WRONGFUL TERMINATION - VIOLATION OF PUBLIC
                   6
                                        POLICY CLAIM FAILS BECAUSE PLAINTIFF DOES NOT CITE WHAT
                                        UNDERLYING STATUTE THE ZOA MAY HAVE VIOLATED
                   7            Plaintiff's Wrongful Termination - Violation of Public Policy Cause of Action alleges
                   8    that the ZOA terminated her employment because she "oppos[ed ]illegal conduct, namely, the
                   9    concealing of the loss of Defendant the ZOA's tax-exempt status as anot-for-profit entity."
               10       (Compl. f 38.) She alleges that her termination violated California Labor Code section 1102.5,
              11        which prohibits an employer from "retaliate[ing] against an employee for refusing to participate
              12       in an activity that would result in a violation of state or federal statute, or a violation or
y   i i       13       noncompliance with a state or federal rule or regulation."
              14               The California Supreme Court recognized a tort action for retaliatory or wrongful
              15       termination in violation of public policy in Tameny v. Atlantic Richfield Co., 27 Cal. 3d 167
              16       (1980), (commonly referred to as a Tameny claim). To prevail on a Tameny claim, Plaintiff must
              17       prove "that h[er] dismissal violated a policy that is[:] (1) fundamental[;] (2) beneficial for the
              18       publicf;] and (3) embodied in a statute or constitutional provision." Turner v. Anheuser-Busch,
              19       Inc., 7 Cal. 4th 1238, 1256 (1994) (internal footnotes omitted). A Tameny wrongful termination
              20       claim arises when a plaintiff is terminated for one of the following four reasons: (1) refusal to
              21       violate a statute; (2) performing an obligation imposed by the state; (3) exercising a statutory
              22       privilege or right; or(4) reporting an alleged violation ofa statute ofpublic importance. Tameny,
              23       27 Cal. 3d at 176-77. The "plaintiff [bears] ... the burden to provide the specific statutes and
              24       regulations on which he base[s] his claim" for wrongful or retaliatory termination. Green v.
              25       Ralee Engineering Co., 1.9 Cal. 4th 66, 84 (1998). A plaintiff's vague charge of legal "violations,
              26       unaccompanied by citations to specific statutory or constitutional provisions, puts [the defendant]
              27       and the court in the position of having to guess at the nature of the public policies involved, if
              28       any." Turner, supra, 7 Cal. 4th at 1257.
                                                                          9

                       DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                       CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 61 of 94 Page ID #:102




                     1
                                  Here, Plaintiff's Complaint fails to cite to any specific state or federal statute, rule,
                     2
                          regulation or constitutional provision on which Plaintiff bases her wrongful termination claim.
                     3    Thus, Plaintiffs Complaint fails to plead the requisite elements of aTameny retaliatory
                     4    termination cause of action because it does not state what fundamental public policy Defendant
                     5    violated by terminating her employment. Plaintiffs vague allegation that Defendant terminated
                     6    her for complaining about "concealing the loss of Defendant ZOA's tax-exempt status as anot-
                     7    for-profit entity" is insufficient to put Defendant and the Court on notice of which public policy
                     8    Plaintiff claims Defendant violated, ifany, and therefore fails to state aclaim for Wrongful
                 9        Termination in Violation of Public Policy. See Turner, supra, 1 Cal. 4th at 1257 (Plaintiff's
                10        "failure to identify astatutory or constitutional policy that would be thwarted by his alleged
                11        discharge dooms his [wrongful termination] cause of action."). The Court should therefore
                12        sustain the ZOA's Demurrer to the Plaintiffs Wrongful Termination - Violation ofPublic Policy
                13       Cause of Action.
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                                 B.     PLAINTIFF'S SECOND CAUSE OF ACTION FOR WRONGFUL
                                        TERMINATION - GENDER DISCRIMINATION FAILS BECAUSE
                15
                                        PLAINTIFF PLED INSUFFICIENT FACTS TO ALLEGE THE ZOA
                                        TERMINATED HER BECAUSE OF HER GENDER
                16

                17               To state a claim for wrongful termination in violation of public policy, Plaintiff must
                18       allege that: (1) she was terminated from her employment; (2) the termination was a violation of
                19       public policy, i.e., there was a nexus between the termination and her gender; and (3) she suffered
                20       damages. See Turner, supra, 7 Cal. 4th at 1258-59.

                21              Plaintiff does not allege any facts regarding gender discrimination within the ten pages of
               22        her Complaint's Factual Background. (See Compl. pp. 1-10.) Rather, she bases her entire
               23        Second Cause of Action for Wrongful Termination - Gender Discrimination on a single
               24        allegation: that "other directors who were all male . . . were not required to fund-raise anywhere
               25        near the rate at which [she] was." (Compl. f 44.) Plaintiff then concludes that she was

               26        "terminated because she was a woman." (Compl. f 45-46.) These are two independent
               27

               28


                         DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                         CASE NO. BC 503861
          Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 62 of 94 Page ID #:103




               1   conclusions; Plaintiff fails to allege any facts to state a causal nexus between the level of

               2   fundraising she was required to perform, her gender, and termination.2
               3           Plaintiff's bare legal conclusion is insufficient to state a cause of action for wrongful
               4   termination based upon gender. A "bare legal conclusion" cannot suffice where factual pleading
               5   is required. See McAllister v. County of Monterey, 147 Cal. App. 4th 253, 289 (2007) (finding
               6   that the court must "take as true the well-pleaded factual allegations of the complaint . .. [but]

               7   may not consider conclusions of fact or law, opinions, speculation or allegations which are

               8   contrary either to law or to judicially noticed facts"); see also Faulkner v. California TollBridge

               9   Authority, 40 Cal. 2d 317, 330 (1953) (finding that "plaintiffs, to state a cause of action

              10   warranting judicial interference with the official acts of defendants, must allege much more than

              11   mere conclusions of law; they must aver the specific facts from which the conclusions entitling

              12   them to relief would follow"). Since Plaintiff failed to plead sufficient facts of a causal nexus
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% 1- i-       13   between her gender and termination, the Court should sustain the ZOA's Demurrer to her
o   2 i

              14   Wrongful Termination - Gender Discrimination Cause of Action.

              15          C.      PLAINTIFF'S THIRD CAUSE OF ACTION FOR CIVIL CONSPIRACY
                                  FAILS AS A MATTER OF LAW BECAUSE ZOA CANNOT CONSPIRE
              16                  WITH ITSELF VIA ITS NATIONAL PRESIDENT

              17          Plaintiffs Civil Conspiracy Cause of Action against the ZOA fails because it is well

              18   established that a corporation cannot conspire with itself through the actions of its agents.

              19   Plaintiff alleges that the ZOA and its National President, Mr. Klein, agreed, intended, and planned

              20   to terminate her because of her concerns over the tax issue and because she was a woman, which

              21   resulted in her termination and related damages. (Compl. f|[ 50, 51, 52, 53.) "A conspiracy

              22   generally requires agreement plus an overt act causing damage." Janken v. GM Hughes
              23   Electronics, 46 Cal. App. 4th 55, 78 (1996) (citing Doctors' Co. v. Superior Court, 49 Cal. 3d 39,

              24   44 (1989)). in Janken, the court explained that a corporation cannot be held liable for civil

              25   conspiracy through the acts of its agents:

              26          A corporate employeecannot conspire with his or her corporate employer; that
              27
                   2In fact, Plaintiff does not allege that ZOA terminated her employment for her fundraising
              28   performance.

                   DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                   CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 63 of 94 Page ID #:104




                             would be tantamount to a person conspiring with himself. Thus, when a corporate
                             employee acts in his or her authorized capacity on behalf of his or her corporate
                 2           employer, there can be no claim of conspiracy between the corporate employer
                             and the corporate employee. In such a circumstance, the element of concert is
                 3           missing.
                 4   Id. (internal citations omitted.)

                 5           Plaintiff essentially pled that the ZOA wrongfully terminated her employment through

                 6   agreement with Mr. Klein, and she is attempting to hold the ZOA and Mr. Klein mutually liable

                 7   by alleging a non-cognizable civil conspiracy claim between the two of them, even though

                     individual, non-employers cannot be held personally liable for discrimination or wrongful

                 9   termination by engaging in personnel actions on behalf of their employer. See id. at 80; see also

                10   Weinbaum v. Goldfarb, Whitman & Cohen, 46 Cal. App. 4th 1310, 1315 (1996). Based on the

                11   foregoing, Plaintiffs Civil Conspiracy cause of action fails.

                12          D.       PLAINTIFF'S FOURTH CAUSE OF ACTION FOR INTENTIONAL
                                     INFLICTION OF EMOTIONAL DISTRESS FAILS BECAUSE PLAINTIFF
v   <   -       13                   DID NOT SUFFICIENTLY PLEAD ZOA ENGAGED IN EXTREME OR
                                     OUTRAGEOUS CONDUCT
                14

                15          To satisfy a cause of action for ILED, Plaintiff must plead the following: "(1)extreme and
                16   outrageous conduct by the defendant with the intention of causing, or reckless disregard of the
                17   probability of causing, emotional distress; (2) the plaintiff's suffering severe or extreme
                1g   emotional distress; and (3) actual and proximate causation of the emotional distress by the
                19   defendant's outrageous conduct. . . ." Potter v. Firestone Tire &Rubber Co., 6 Cal. 4th 965,
                20   1001 (1993). (citations omitted). The alleged conduct must be "so extreme as to exceed all
                21   bounds [ofconduct] that is usually tolerated in a civilized community." Id. Here, Plaintiff has
                22   not alleged any facts that constitute extreme and outrageous conduct sufficient to establish that
                23   the ZOA intentionally inflicted emotional distress upon her.
                24          Plaintiff's allegation that the ZOA pressured her to fund-raise and terminated her
                25   employment are insufficient to amount to extreme or outrageous conduct to support her IIED
                26   claim. These are personnel actions, which are the sine qua non of any business operation.
                27   Sheppard v. Freeman, 67 Cal. App. 4th 339, 345 (1998). "[T]o properly manage its business,
                28   every employer must on occasion review, criticize, demote, and discipline employees." Id.
                                                                       5
                     DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                     CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 64 of 94 Page ID #:105




         1    (quoting Cole v. Fair Oaks Fire Protection Dist., 43 Cal. 3d 148, 160 (1987)). In addition,
         2    simply terminating an employee, even if without cause, does not constitute outrageous conduct.
         3    See Buscemi v. McDonnell Douglas Corp., 736 F.2d 1348, 1352 (9th Cir. 1984); Trerice v. Blue
     4        Cross ofCalifornia, 209 Cal. App. 3d 878, 883 (1989).3 Because Plaintiffs Complaint does not
     5       allege any facts to show the ZOA intentionally engaged in extreme and outrageous conduct
     6       towards her that is "so extreme as to exceed all bounds [of conduct] that is usually tolerated in a
     7       civilized community," the Court should sustain the ZOA's Demurrer to Plaintiff's Fourth Cause

     8       of Action.

     9                 E.      PLAINTIFF'S FIFTH CAUSE OF ACTION FOR NEGLIGENT
                               INFLICTION OF EMOTIONAL DISTRESS FAILS BECAUSE IT IS
    10                         BARRED BY THE WORKERS' COMPENSATION ACT

    11                 California Labor Code section 3602(a) provides that "[w]here the conditions of

    12       compensation set forth in Section 3600 concur, the right to recover such compensation is... the
    13       sole and exclusive remedy of the employee . . . against the employer." The California Supreme
    14       Court has found that "injuries caused by employer negligence or without employer fault [ ] are

    15       compensated at the normal rate under the workers' compensation system" and civil actions are

    16       barred by the Workers' Compensation Act. Fermino v. Fedco, Inc., 7 Cal. 4th 701, 721-23

    17       (1994).

    18                 In her Complaint, Plaintiff fails to allege facts that would take the claim for negligent
    19       infliction of emotional distress ("NIED") out of the employment context and, therefore, beyond

    20       the exclusive remedy provisions of the Workers' Compensation Act ("WCA"). See Cole, supra,

    21       43 Cal. 3d 148. In Cole, the plaintiff alleged that his employer deliberately harassed and

    22       punished him. The Cole court held that even this type of conduct necessarily arose in the "course

    23       of the employment," within the purview of Labor Code sections 3600 et seq. Id. at 160. "Actions

    24       which are a normal part of the employment relationship, such as demotions, promotions, criticism

    25       of work practices, and frictions in negotiations as to grievances" fall within the exclusive remedy

    26

    27         In fact, Plaintiff alleges that ZOA "allowed her to bring her mother into the [termination]
             meeting for emotional support." (Compl. f 35.) One should wonder how outrageously ZOA
    28       treated Plaintiff during her termination meeting if this allegation is true.
                                                                 6
             DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
             CASE NO. BC 503861
        Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 65 of 94 Page ID #:106




                 1    of the workers' compensation laws. Id.; Shoemaker v. Myers, 52 Cal. 3d 1(1990) (affirming Cole
                 2    and holding plaintiff's cause of action for intentional infliction of emotional distress was
                 3    preempted by Labor Code sections 3600 et seq.). Shoemaker further held that characterizing the
             4        employer's conduct as intentional or outrageous was not enough to escape the exclusive remedy
             5       provisions of the WCA. Id. at 26; see also Livitsanos v. Superior Court, 2 Cal. 4th 744 (1992).
             6                Here, Plaintiff's claim arises solely from her employment with the ZOA. She alleges the
             7       ZOA negligently inflicted emotional distress upon her by pressuring her to perform her
             8       fundraising duties and terminating her employment. (Compl. ff 18, 19, 26, 34.) Because
             9       Plaintiff's claims fall only within the employment relationship, Cole and Shoemaker's governing
            10       holdings dictate this claim is barred by the exclusive remedy provisions of the WCA.
            11                F.      PLAINTIFF'S NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                      CLAIM ALSO FAILS BECAUSE ALL CONDUCT PLAINTIFF ALLEGED
            12                       WAS FRAMED AS INTENTIONAL CONDUCT, NOT NEGLIGENT
                                     CONDUCT
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S £5        14                To prove negligent infliction of emotional distress. Plaintiff must demonstrate that the

            15       ZOA owed her a duty, that the ZOA engaged in negligent conduct, that she then suffered severe

            16       emotional harm, and that the negligent conduct was the cause of the emotional distress suffered

            17       by Plaintiff. See Burgess v. Superior Ct., 2 Cal. 4th 1064, 1072 (1992). Plaintiffs NIED claim

            18       fails because Plaintiff alleges intentional, but not negligent conduct, as the basis for her NIED

            19       claim.


            20                Intentional conduct cannot be used as a basis for recovery under NIED theory. Semore v.

            21       Pool, 217 Cal. App. 3d 1087, 1105 (1990). An employer's supervisory conduct is inherently

            22       intentional and customary to the employer-employee relationship. See id. Thus, an employee

            23       asserting a NIED claim against her employer cannot base her suit on a supervisor's intentional

            24       conduct or personnel decision by framing intentional acts as "breaching a duty" towards her. Id.

            25                In Semore v. Pool, an employee, sued his former employer for wrongful termination and

            26       NIED when he was terminated for refusing to submit to a work-related drug screening. Id. at

            27       1092-93. The court held that the supervisor had intentionally terminated the plaintiffs

            28       employment, and thus, the deliberate firing of plaintiff could not serve as a basis for a negligence
                                                                       7
                     DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                     CASE NO. BC 503861
          Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 66 of 94 Page ID #:107




                   1
                        claim. Id. at 1105: Here, the ZOA's alleged conduct with relation to terminating Plaintiffs
                   2
                        employment was, of course, intentional conduct. (Compl. ff 26, 34.) Even if the Court accepts
                   3    all of Plaintiff's allegations as true, each instance ofallegedly actionable conduct was intentional.
                   4    Thus, Plaintiff's Fifth Cause ofAction fails as a matter oflaw and must be dismissed, with
                   5    prejudice.

                   6
                               G.      PLAINTIFF'S UNFAIR COMPETITION LAW CLAIM FAILS FOR THE
                                       SAME REASONS HER OTHER CLAIMS FAIL
                   7


                   8           Plaintiff failed to state a claim for violation of the UCL for the same reasons as all of her
                   9    other claims fail. As the California Supreme Court has recognized, the UCL "borrows" violations
               10      ofother laws and treats them as unlawful practices independently actionable under the UCL.
              11       Farmers Ins. Exchange v. Superior Court, 2 Cal. 4th 377, 383 (1992); People v. McKale, 25 Cal.
              12       3d 626, 632 (1979). Dismissal of the "borrowed" cause of action necessarily causes a dismissal
              13       ofthe Section 37200 claim. See, e.g., Ingelsv. Westwood One Broadcasting Services, Inc., 129
a   1 '

              14       Cal. App. 4th 1050, 1060 (2003) (holding that "[a] defendant cannot be liable under the UCL for
              15       committing 'unlawful business practices' without having violated another law . . . If the
              16       [underlying] claim is dismissed, then there is no 'unlawful' act upon which to base the derivative
              17       Unfair Competition claim.").

              18              By law, at best, Plaintiff's UCL claim "borrows" the violations alleged in her other causes
              19       of action, to the extent that she pled sufficient facts to state any claims. Because Plaintiff failed to
              20       state a claim for wrongful termination, civil conspiracy, or infliction of emotional distress, she
              21       failed to state that the ZOA violated the UCL. Accordingly, the Court should sustain the ZOA's
              22       Demurrer to Plaintiff's Sixth Cause of Action.

              23       ///

              24       ///

              25       ///

              26       ///

              27       ///

              28       ///
                                                                          8
                       DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT                  ~    '     ~~
                       CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 67 of 94 Page ID #:108




                     III.    CONCLUSION

                 2          For the foregoing reasons, Defendant the ZOA respectfully requests that the Court sustain
                 3   its Demurrer and dismiss Plaintiffs First, Second, Third, Fourth, Fifth, and Sixth Causes of

                 4   Action against it.

                 5
                     Dated: April 12,2013                                     HIRSCHFELD KRAEMER LLP
                 6

                 7
                                                                       By:      ^2
                 8                                                                     Gregory S. Glazer
                                                                                       Alison M. Hamer
                 9                                                     Attorneys for Defendant
                                                                       ZIONIST ORGANIZATION OF AMERICA
                10

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                     DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
                     CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 68 of 94 Page ID #:109




      1
                                                PROOF OF SERVICE
     2
            STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3            I, the undersigned, am a resident of the State of California, over the age of eighteen years,
          and not a party to the within action. My business address is 233 Wilshire Boulevard, Suite 600,
     4    Santa Monica, California 90401. On April 12, 2013,1 served the following document(s) by the
          method indicated below:
     5
                   DEFENDANT ZIONIST ORGANIZATION OF AMERICA'S NOTICE OF
     6               DEMURRER AND DEMURRER TO PLAINTIFF'S COMPLAINT

     7       I I by transmitting via facsimile on this date from fax number (310) 255-0986 the
                     document(s) listed above to the fax number(s) set forth below. The transmission was
     8              completed before 5:00 p.m. and was reported complete and without error. Service by
                    fax was made by agreement of the parties, confirmed in writing. The transmitting fax
     9              machine complies with Cal. R.Ct 2003(3).
    10       S      by placing the document(s) listed above in a sealed envelopc(s) with postage thereon
                    fully prepaid, in the United States mail at Santa Monica, California addressed as set
    11              forth below. I am readily familiar with the firm's practice of collection and processing
                    correspondence for mailing. Under that practice it would be deposited in the U.S.
    12              Postal Service on that same day with postage thereon fully prepaid in the ordinary
                    course of business. I am aware that on motion of the party served, service is presumed
    13              invalid if postal cancellation date or postage meter date is more than one day after date
                    of deposit for mailing in affidavit.
    14
             I I by placing the document(s) listed above in asealed envelope(s) and by causing
    15              messenger delivery of the cnvelope(s) to the person(s) at the address(es) set forth
                    below. I am readily familiar with the business practice of my place of employment with
    16              respect to the collection and processing of correspondence, pleadings and notices for
                    hand delivery. On April 12, 2013,1 caused to be served via messenger the above-listed
    17              documents.

    18       LJ     by personally delivering the document(s) listed above to the person(s) at the
                    address(cs) set forth below.
    19
             LJ     by placing the documcnt(s) listed above in asealed envelope(s) and consigning it to an
    20
                    express mail service for guaranteed delivery on the next business day following the
                    date of consignment to the address(es) set forth below.
    21
                  Bryan C. Altman
    22            Joel E. Elkins
                  The Altman Law Group
    23            6300 Wilshire Blvd., Suite 980
                  Los Angeles, CA 90048
    24
                  Phone:(323)653-5581
                  Fax:(323)653-5542
    25
                  I declare under penalty of perjury under the laws of the State of California thatthe above
    26    is true and correct. Executed on April 12, 2013, at Santa Monica, California.
    27                                                            &+u>^ i_<T?., 7^K*^a_^
                                                                             Karen Torres
    28


          DEF'S NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT
          CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 69 of 94 Page ID #:110




                                                  EXHIBIT C
         Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 70 of 94 Page ID #:111


                                                                             CONFORMED COPY
                                                                              LosOF ORIGINAL
                                                                                  Angeles     HIS?
                                                                                          Superior Court.
                  GREGORY S. GLAZER (SBN 172197)
                  ALISON M. HAMER (SBN 258281)                                        APR 12 2013
                  HIRSCHFELD KRAEMER LLP
                  233 Wilshire Boulevard, Suite 600
                  Santa Monica, CA 90401                                     a«     rh       <w -,0sautv
                  Telephone: (310)255-0705                                   ay.
                  Facsimile: (310)255-0986

                  Attorneys for Defendant
  U               ZIONIST ORGANIZATION OF AMERICA


              7

              8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

              9                                   COUNTY OF LOS ANGELES

             10

             11   ORIT ARFA, an individual,                       Case No. BC 503861

             12                     Plaintiff,                    DEFENDANT ZIONIST ORGANIZATION
I -3 -                                                            OF AMERICA'S NOTICE OF MOTION
< < I
             13   vs.
                                                                  AND MOTION TO STRIKE PORTIONS
                                                                  OF PLAINTIFF ORIT ARFA'S
             14   ZIONIST ORGANIZATION OF                         COMPLAINT
                  AMERICA, a New York corporation;
             15   MORTON KLEIN, an individual; and
                  DOES 1 through 20, inclusive,
             16                                                   Date:        May 31, 2103 [Reserved]
                                    Defendants.                   Time:        8:30 a.m.
             17                                                   Dept:        55
                                                                  Judge:       Hon. Malcolm Mackey
             18
                                                                  Complaint Filed: March 25, 2013
             19

             20

             21   TO PLAINTIFF AND HER ATTORNEY OF RECORD:

             22          PLEASE TAKE NOTICE that on May 23, 2013 at 8:30 a.m., or as soon thereafter as the

             23   matter may beheard in Department 55 ofthe above captioned court, located at 111 N. Hill Street,
             24   Los Angeles, California, Defendant ZIONIST ORGANIZATION OF AMERICA (hereinafter
             25   "the ZOA") will and hereby moves this Court to strike portions ofthe Complaint filed by Plaintiff
             26   ORIT ARFA (hereinafter "Plaintiff).

             27   ///

             28

                  DEF'S NOTICE OF MOTION AND MOTION TO STRIKE                                           4837-5185-4611
                  CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 71 of 94 Page ID #:112




                     1              Specifically, Defendant the ZOA moves to strike the following portions ofthe Complaint:
                 2                                                    Sixth Cause of" Action

                 3                  1.     "Plaintiffalleges that, as a direct and proximate result of Defendants' unfair
                 4       business practices, Plaintiff has suffered damages, in an amount to beproven at trial." (Page 15,
                 5       Paragraph 69, Lines 21-22.)

                 6                                                       Prayer for Relief

                 7               2.        "statutory damages and costs, including reasonable attorneys' fees" (Page 16,
                 8       Line 1.)

                 9              This Motion to Strike is made on the grounds that said text referenced above is

                10       immaterial, irrelevant, and seeks damages that are not recoverable as a matter of law in Wrongful
                11       Termination, Civil Conspiracy, Intentional and Negligent Infliction of Emotional Distress, and

                12       Unfair Business Practice causes of action. Code Civ. Proc. § 436(a). Plaintiff's Complaint fails to

x   i   s       13       identify any statute under which she may recover attorneys' fees in this lawsuit. Thus, she has
D 7. £

                14       not stated facts to support her prayer for attorneys' fees. In addition, damages are not recoverable

                15       under California Business and Professions Code section 17200 et seq.

                16              This Motion to Strike is supported by the Notice attached hereto, the Memorandum of

                17       Points and Authorities, the papers and documents on file with this Court, and any and all

                18       arguments presented to the Court at the hearing.

                19
                         Dated: April 12, 2013                                         HIRSCHFELD KRAEMER LLP
                20

                21
                                                                                By:_
                22                                                                             Gregory S. Glazer
                                                                                               Alison M. Hamer
                23                                                              Attorneys for Defendant
                                                                                ZIONIST ORGANIZATION OF AMERICA
                24

                25

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                                                                            2
                         DEF'S NOTICE OF MOTION AND MOTION TO STRIKE
                         CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 72 of 94 Page ID #:113




                     1
                                               MEMORANDUM OF POINTS AND AUTHORITIES
                     2    I.      INTRODUCTION

                     3            This lawsuit arises out of Plaintiff Orit Aria's ("Plaintiff) former employment with the
                     4    Zionist Organization of America ("the ZOA"). Plaintiffs Complaint alleges six causes of action
                     5    against ZOA and Mr. Klein:1 (1) tortious wrongful termination - violation of public policy;
                     6    (2) tortious wrongful termination - gender discrimination; (3) tortious conspiracy to terminate
                     7    Plaintiffs employment; (4) tortious intentional infliction ofemotional distress; (5) tortious
                     8    negligent infliction ofemotional distress; and (6) unfair business practices under California
                     9    Business and Professions Code section 17200, etseq.
                10               This motion seeks to strike Plaintiff's improper prayer for attorneys' fees in her tort
                11        Wrongful Termination, Civil Conspiracy, Intentional infliction of Emotional Distress, Negligent
                12        Infliction ofEmotional Distress Causes ofAction, because her prayer is unsupported by any
X   t   2       13       contract or statute. In addition, the Court should strike Plaintiffs prayer for attorneys' fees in her
r1 S 2
                14       Unfair Business Practices cause of action because California Business and Professions Code
                15       section 17200, etseq. does not provide for the recovery of attorneys' fees. Lastly, this motion
                16       seeks to strike Plaintiff's improper prayer for damages in her Unfair Business Practice Cause of
                17       Action, because only injunctive and restitutionary reliefs are available under the statute.
                18       II.     LEGAL ARGUMENT

                19              A.      MOTION TO STRIKE LEGAL STANDARD

                20              Code of Civil Procedure section 436 provides:
                21              The court may, upon a motion made pursuant to section 435, or at anytime in its
                22       discretion, and upon terms it deems proper:

               23               (a)     Strike out any irrelevant, false, or improper matter inserted in any
                                        pleading.
               24               (b)     Strike out all or any part of any pleading not drawn or filed in conformity
                                        with the laws of this state, a court rule, or an order of the court. (Emphasis
               ^.j
                                        added.)

               26

               27        1Plaintiff has not served the Summons and Complaint to Mr. Klein. Therefore, even though
                         Plaintiffs claims cannot be sustained as a matter of law against Mr. Klein because he was not her
               28        employer, this Motion to Strike is only filed on behalf of the ZOA.

                         DEF'S NOTICE OF MOTION AND MOTION TO STRIKE
                                                                                                                   4837-5185-4611
                         CASE NO. BC 503861
         Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 73 of 94 Page ID #:114




                  "An immaterial allegation in a pleading [includes]... [a] demand for judgment requesting relief

              2   not supported by the allegations of the complaint... ." Code Civ. Proc. § 431.10(b)(3).

              3          B.      PLAINTIFF'S FAILURE TO ATTACH AN AGREEMENT THAT
                                 CONTAINS A PREVAILING PARTY ATTORNEYS' FEE PROVISION OR
              4                  CITE A STATUTE THAT PROVIDES FOR THE RECOVERY OF
                                 ATTORNEYS' FEES PRECLUDES AN AWARD OF ATTORNEYS' FEES
              5                  UNDER HER TORT CAUSES OF ACTION

              6          Under the American rule, as a general proposition, each party must pay its own attorneys'

              7   fees. This concept is embodied in Code of Civil Procedure section 1021, which provides that

              8   each party is to bear his or her own attorneys' fees unless a statute or agreement of the

              9   parties provides otherwise. In interpreting Code of Civil Procedure section 1021. courts

             10   generally rule that without a specific statutory provision or contractual agreement, attorneys' fees
             11   are not part of the costs recoverable from the opposing party. See Jutkowitz v. Bourns, Inc., 118
             12   Cal. App. 3d 102 (1981). Thus, "in the absence of some statutory right or contractual provision,
'• 5 ;

X ', 5
             13   attorney's fees are to be paid by the party employing the attorney." Carroll v. Hanover Ins. Co.,
= 7 i

             14   266 Cal. App. 2d 47, 50 (1968).

             15          Plaintiff's Complaint fails to identify any contract or statute providing for recovery of

             16   attorneys' fees under her tort causes of action of Wrongful Termination - Violation ofPublic
             17   Policy, Wrongful Termination - Gender Discrimination, Civil Conspiracy, Intentional Infliction
             18   of Emotional Distress, and Negligent Infliction of Emotional Distress. Plaintiff cannot recover

             19   attorneys' fees for such causes of action absent a contract orstatute providing for attorneys' fees
             20   for the prevailing party since they are rooted in tort. See Code Civ. Pro. § 1021 (providing each
             21   party is to bear his or her own attorneys' fees unless a statute or agreement ofthe parties provides
             22   otherwise). Nonetheless, Plaintiffs prayer for relief makes an unsupported request for "statutory
             23   damages and costs, including reasonable attorneys' fees . .. ." (Compl. p. 16, Line 1.) Plaintiff
             24   has failed to allege the basis of her request for attorneys' fees in connection with these tort causes

             25   of action. Accordingly, the Court should strike Plaintiffs prayer for attorneys' fees in her First,
             26   Second, Third, Fourth, and Fifth Causes of Action.

             27

             28


                  DEF'S NOTICE OF MOTION AND MOTION TO STRIKE
                  CASE NO. BC 503861
           Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 74 of 94 Page ID #:115




                    1
                                 C.     PLAINTIFF CANNOT RECOVER ATTORNEYS' FEES UNDER HER
                    2
                                        STATUTORY CALIFORNIA BUSINESS AND PROFESSIONS CODE
                                        SECTION 17200 ET SEQ. CLAIM BECAUSE THE STATUTE DOES NOT
                                        PROVIDE FOR ATTORNEYS' FEES
                    3

                    4           Similarly, Plaintiff has not cited any statute to recover attorneys' fees under her Sixth
                    5    Cause of Action of Unfair Business Practices under California Business and Professions Code
                    6    section 17200 et seq. "The unfair competition law does not provide for attorney fees, and relief is
                    7    generally limited to injunctive relief and restitution." Walker v. Countrywide Home Loans, Inc.,
                    8    98 Cal. App. 4th 1158, 1180 (2002). Thus, the Court should strike Plaintiffs prayer for attorneys'
                   9     fees in her Sixth Cause of Action.

               10               D.      PLAINTIFF'S PRAYER FOR DAMAGES IS IMPROPER UNDER HER
                                        UNFAIR BUSINESS PRACTICES CAUSE OF ACTION BECAUSE THE
               11                       STATUTE ONLY PROVIDES FOR INJUNCTIVE AND
                                        RESTITUTIONARY RELIEF
               12


X   i- I       13               The UCL "'borrows' violations from other laws by making them independently actionable
a   5 i

               14       as unfair competitive practices." Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134,
               15       1143 (2003). "A UCL action is equitable in nature; damages cannot be recovered." Id; see also
               16       Heller v. Norcal Mutual Ins. Co., 8 Cal. 4th 30, 45 (1994) ("Damages are not available for claims
               17       under the Unfair Business Practices Act."); Bank of the West v. Super. Ct., 2 Cal. 4th 1254, 1266
               18       (1992). Plaintiffs Complaint is seeking past and future wages, emotional distress damages, and
               19       punitive damages, which are unrecoverable under this statute. Her allegation that "as a direct and
               20       proximate result of [the ZOA's] unfair business practices,[ she] has suffered damages" requests
               21       recovery unsupported by the Unfair Business Practices Act. Therefore, the Court should strike

               22       this sentence from Plaintiffs Complaint.

               23       ///


               24       ///


              25        ///


              26        ///

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                        DEF'S NOTICE OF MOTION AND MOTION TO STRIKE
                        CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 75 of 94 Page ID #:116




                     1    HI.    CONCLUSION

                     2           For the foregoing reasons, the ZOA respectfully requests that the Court strike Plaintiffs
                     3   request for attorneys' fees as to her First, Second, Third, Fourth, Fifth and Sixth causes ofaction,
                 4       and her prayer for damages in her Sixth cause of action.

                 5

                 6

                 7       Dated: April 12,2013                                       HIRSCHFELD KRAEMER LLP

                 8

                 9
                                                                                              jregory S. Glazer
                10                                                                           Alison M. Hamer
                                                                            Attorneys for Defendant
                11                                                          ZIONIST ORGANIZATION OF AMERICA

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                         DEF'S NOTICE OF MOTION AND MOTION TO STRIKE
                         CASE NO. BC 503861
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 76 of 94 Page ID #:117




                     1                                         PROOF OF SERVICE

                 2         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                 3               I, the undersigned, am a resident of the State of California, over the age of eighteen years,
                         and not a party to the within action. My business address is 233 Wilshire Boulevard, Suite 600,
                 4       Santa Monica, California 90401. On April 12, 2013,1 served the following document(s) by the
                         method indicated below:
                 5
                                      DEFENDANT ZIONIST ORGANIZATION OF AMERICA'S
                 6                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                      DEMURRER TO COMPLAINT AND MOTION TO STRIKE
                 7
                            I I by transmitting via facsimile on this date from fax number (310) 255-0986 the
                 8
                                 document(s) listed above to the fax number(s) set forth below. The transmission was
                                 completed before 5:00 p.m. and was reported complete and without error. Service by fax
                 9
                                 was made by agreement of the parties, confirmed in writing. The transmitting fax
                                 machine complies with Cal. R.Ct 2003(3).
                10
                           [2-1 by placing the document(s) listed above in a sealed envelope(s) with postage thereon fully
                11
                                 prepaid, in the United States mail at Santa Monica, California addressed as set forth
                                 below. I am readily familiar with the firm's practice of collection and processing
                12
                                 correspondence for mailing. Under that practice it would be deposited in the U.S. Postal
                                 Service on that same day with postage thereon fully prepaid in the ordinary course of
                13
                                 business. I am aware that on motion of the party served, service is presumed invalid if
X   "   2
                                 postal cancellation date or postage meter date is more than one day after date of deposit
                14
                                 for mailing in affidavit.

                15
                           I I by placing the document(s) listed above in asealed envelope(s) and by causing
                                 messenger delivery ofthe envelope(s) to the person(s) at the addressees) set forth below.
                16
                                 I am readily familiar with the business practice of my place of employment with respect
                                 to the collection and processing of correspondence, pleadings and notices for hand
                17
                                 delivery. On April 12, 2013,1 caused to be served via messenger the above-listed
                                 documents.

                18
                           I I by personally delivering the document(s) listed above to the person(s) at the address(es)
                                 set forth below.
                19
                           I I by placing the document(s) listed above in asealed envelope(s) and consigning it to an
                20               express mail service for guaranteed delivery on the next business day following the date
                                 of consignment to the address(es) set forth below.
                21
                                Bryan C. Altman
                22
                                Joel E. Elkins
                                The Altman Law Group
                23
                                6300 Wilshire Blvd., Suite 980
                24              Los Angeles, CA 90048
                                Phone:(323)653-5581
                25              Fax: (323) 653-5542

                26
                                  I declare under penalty of perjury under the laws of the State of California that the above
                         is true and correct. Executed on April 12, 2013, at. Santa Monica, California.
                27
                                                                                \d-
                28                                                                          Karen Torres


                         DEF'S MEMO OF P&AS ISO DEMURRER AND MOTION TO STRIKE
                         CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 77 of 94 Page ID #:118




                                                 EXHIBIT D
         Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 78 of 94 Page ID #:119




             1   GREGORY S. GLAZER (SBN 172197)
                 ALISON M. HAMER (SBN 258281)
             2   HIRSCHFELD KRAEMER LLP
                 233 Wilshire Boulevard, Suite 600
             3   Santa Monica, CA 90401
                 Telephone: (310)255-0705
             4   Facsimile: (310)255-0986

             5   Attorneys for Defendants
                 ZIONIST ORGANIZATION OF AMERICA
             6   And MORTON KLEIN

             7

             8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

             9                                     COUNTY OF LOS ANGELES

            10

            11   ORFr AFRA, an individual,                         Case No. BC 503861

            12                      Plaintiff,                     DEFENDANTS ZIONIST
2 1 <
                                                                   ORGANIZATION OF AMERICA AND
x. " s      13   vs.                                               MORTION KLEIN'S NOTICE TO STATE
                                                                   COURT AND TO ADVERSE PARTIES RE:
            14   ZIONIST ORGANIZATION OF                           REMOVAL TO U.S. DISTRICT COURT,
5«
                 AMERICA, a New York corporation;                  CENTRAL DISTRICT
            15   MORTON KLEIN, an individual; and
                 DOES 1 through 20, inclusive,
            16
                                    Defendants.                    Dept:         55
            17                                                     Judge:        Hon. Malcolm Mackey

            18                                                     Complaint Filed: March 25, 2013

            19

           20           PLEASE TAKE NOTICE that, ZIONIST ORGANIZATION OF AMERICA and

           21    MORTON KLEIN, Defendants in the above-captioned matter, have filed a NOTICE OF

           22    REMOVAL OF ACTION TO FEDERAL COURT, pursuant to 28 U.S.C. sections 1441(a), (b)

           23    and 1446, in the United States District Court for the Central District of California, thereby

           24    removing the above-captioned matter to said court.

           25

           26    ///


           27    ///


           28    ///


                 DEFS' NOTICE TO STATE COURT AND TO ADVERSE PARTIES RE: REMOVAL
                                                                                                          4813-6629-7619
                 CASE NO. BC 503861
             Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 79 of 94 Page ID #:120



                      1    A copy of the Notice of Removal of Action to Federal Court is attached hereto as Exhibit 1.
                     2

                     3     Dated: April 25, 2013                                    HIRSCHFELD KRAEMER LLP
                     4

                     5

                                                                                             Gregory S. Glazer
                  6
                                                                                             Alison M. Hamer
                                                                              Attorneys for Defendants
                  7
                                                                              ZIONIST ORGANIZATION OF AMERICA
                                                                              and MORTON KLEIN
                  8

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                          DEFS' NOTICE TO STATE COURT AND TO ADVERSE PARTIES RE: REMOVAL
                          CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 80 of 94 Page ID #:121




                                                 EXHIBIT A
      Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 81 of 94 Page ID #:122



              1    GREGORY S. GLAZER, Bar No. 172197
                   gglazer@hukemploymentlaw.com
              2    ALISON M. HAMER, Bar No. 258281
                   ahamer@likemploymentlaw.com
              3    HIRSCHFELD KRAEMER LLP
                   233 Wilshire Boulevard, Suite 600
              4    Santa Monica, CA 90401
                   Telephone: (310)255-0705
              5    Facsimile: (310)255-0986
              6    Attorneys for Defendants
                   ZIONIST ORGANIZATION OF AMERICA
              7    and MORTON KLEIN

              8
                                            UNITED STATES DISTRICT COURT
           9
                                     CENTRAL DISTRICT - CENTRAL DISTRICT
          10

         11
                  ORIT ARFA, an individual,                 Case No.
         12
2 j                                Plaintiff,               [Los Angeles County Superior Court
         13                                                 Case No. BC503861]
                  vs.
         14                                                 DEFENDANT ZIONIST
                  ZIONIST ORGANIZATION OF                   ORGANIZATION OF AMERICA
         15       AMERICA, a New York                       AND MORTON KLEIN'S NOTICE
                  corporation; MORTON KLEIN, an             OF REMOVAL TO FEDERAL
         16       individual; and DOES 1 through 20,        COURT UNDER 28 U.S.C. § 1441(a);
                  inclusive,                                28 U.S.C. § 1332
         17
                                   Defendants.              Complaint Filed:       March 25, 2013
         18

         19
                  TO THE CLERK OF THE COURT:
         20
                         PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. sections 1441(a) and
         21
                  1446, Defendants the Zionist Organization of America and Morton Klein hereby
         22
                  remove the above-entitled action from the Superior Court of California in and for
         23
                  the County of Los Angeles to the United States District Court for the Central
         24
                  District of California.
         25

         26

         27

         28

                  DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                            4820-0330-7539
                  CASE NO.
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 82 of 94 Page ID #:123



                 1              GROUNDS FOR REMOVAL ON THE BASIS OF DIVERSITY

                2    I.     REMOVAL JURISDICTION

                3           This Court has original jurisdiction over this action under 28 U.S.C. Section
                4    1332 because it involves citizens of different states and the matter in controversy
                5    exceeds the sum of $75,000, exclusive of interest and costs. Defendants the Zionist
                6    Organization of America ("the ZOA") and Morton Klein (collectively
                7    "Defendants") are citizens of the States of New York and Pennsylvania,
                8    respectively, whereas Plaintiff Orit Arfa ("Plaintiff) is a resident and citizen of the
                9    State of California. Plaintiff claims that she is seeking $300,000.00 in damages and
               10    attorneys' fees.
               11          On or about March 25, 2013, Plaintiff filed a Complaint in the Superior
               12    Court of the State of California for Los Angeles, entitled Orit Arfa, an individual,
               13    vs. Zionist Organization ofAmerica, a New York corporation; Morton Klein, an
Dip
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               14    individual; and DOES 1 through 20, inclusive, Case No. BC503861 (hereinafter
U



               15    the "Complaint"). (Declaration of Gregory Glazer ("Glazer Decl.") If 2, Exh. A.)
               16    The Complaint purports to state causes of action against Defendants for wrongful
               17    termination, civil conspiracy, intentional and negligent infliction of emotional
               18    distress, and unfair business practices. (Glazer Decl. ^ 2, Ex. A.)
               19          The ZOA filed a Demurrer and Motion to Strike portions of Plaintiff s
               20    Complaint in state court on April 12, 2013, which has not been heard. (Glazer
               21    Decl. U3, Exh. B & C.) Mr. Klein was served the Summons and Complaint on
               22    April 20, 2013 and has not filed a responsive pleading because it is not yet due.
               23    (Glazer Decl. ^ 2.)
               24          Pursuant to 28 U.S.C. section 1446(d), Defendants are concurrently filing a
               25    Notice to the State Court of Removal with the Superior Court of the State of
               26    California in and for the County of Los Angeles and serving it on Plaintiff.
               27    (Glazer Decl. If 4, Exh. D.)
               28

                     DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                     CASE NO.
            Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 83 of 94 Page ID #:124



                    1    II.   COMPLETE DIVERSITY OF CITIZENSHIP EXISTS
                 2             A.     The Parties are Citizens of Different States

                 3
                               There is complete diversity of citizenship in this case between Plaintiff and
                 4
                        Defendants the ZOA and Mr. Klein. Complete diversity of citizenship exists when
                 5      each of the plaintiff is a citizen of a different state from each of the defendants.
                6       See, e.g., Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996). Citizenship of a natural
                7       person is determined by his or her state of domicile. Kanter v. Warner-Lambert
                8       Co., 265 F.3d 853, 857 (9th Cir. 2001). A corporation is deemed to be a "citizen"
                9       of "any State by which it has been incorporated and of the State where it has its
               10       principal place of business." 28 U.S.C. §1332(a).
               11              Here, the ZOA, which is a corporation, is incorporated in and has its
               12       principal place of business in the State of New York. (Declaration of David Drimer
2   1


X   i   S      13       ("Drimer Decl.") Decl. ^ 2; Glazer Decl. f 2, Exh. A ^ 5.) The ZOA is a citizen of
D1'
la £ 1
I   <          14       New York, not California.
u



               15              Defendant Morton Klein resides in and is a citizen of the State of

               16       Pennsylvania, and is not a citizen of California. (Declaration of Morton Klein
               17       ("Klein Decl.") If 2; Glazer Decl. If 2, Exh. A | 6.)
               18              According to her Complaint, Plaintiff is a resident of the State of California.
               19       (Glazer Decl. ^f 2, Exh. A f 4.) She therefore is completely diverse from
               20       Defendants, which are not citizens of that state.
               21
                        III.   THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
               22              Under 28 U.S.C. section 1332(a), federal district courts have diversity
               23       jurisdiction over civil actions where the amount in controversy exceeds $75,000,
               24       exclusive of costs and interest. According to Plaintiff herself, a reasonable estimate
               25       of her claims is $300,000, an amount well over the $75,000 threshold for diversity
               26       claims. Prior to filing her lawsuit, Plaintiff sent correspondents to Defendants'
               27       counsel offering to accept payment of $300,000 to settle her employment claims
               28

                        DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                        CASE NO.
           Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 84 of 94 Page ID #:125



                   1    against Defendants. (Glazer Decl. ^ 5, Ex. E.) "A settlement demand is relevant
                   2    evidence of the amount in controversy if it appears to reflect a reasonable estimate
                  3     ofthe plaintiffs claims." Cohn v. Petsmart, 281 F.3d 837, 840 (9th Cir. 2002); see
                  4     also Babasa v. Lenscrafters, Inc., 498 F.3d 972, 975 (9th Cir. 2007).
                  5           Also, in her Complaint, Plaintiff seeks past and future economic and non-
               6        economic damages, emotional distress damages, punitive damages, and attorneys'
               7        fees. (Glazer Decl. ^f 2, Ex. A ^ 41, 42, 47, 48, 52, 53, 55, 56, 57, 58, 63, 69,
               8       Prayer for Relief.) All of Plaintiff s purported damages may be used to determine
               9       the amount in controversy. See 28 U.S.C. § 1332(a). Where it is "unclear or
              10       ambiguous from the face of a state-court complaint whether the requisite amount in
              11       controversy is pled," the Court must determine whether it is "more likely than not"
              12       that the amount in controversy exceeds $75,000. Guglielmino v. McKee Foods
X   Z 5.      13       Corporation, 506 F.3d 696, 699-701 (9th Cir. 2007). The Court must consider any
              14       "sum which would entail a payment" by the defendant, including damages for lost
              15       wages, lost future wages, the value of lost health benefits, compensatory damages,
              16       punitive damages, and attorney's fees. Id. at 698-701 (affirming district court's
              17       calculation of amount in controversy, including back benefits, estimated attorneys'
              18       fees of 12.5% of actual damages sought and punitive damages at a 1:1 ratio to
              19       economic damages).
              20             Accordingly, per Plaintiffs own pre-litigation damage assessment of
              21       $300,000, in accordance with the relief sought in her Complaint, places the amount
              22       in controversy over $75,000.
              23       IV.   THE NOTICE OF REMOVAL IS TIMELY

              24             Removal of a complaint from state court to federal court must be effected
             25        within 30 days from the first date from that it can be ascertained that that federal
             26        subject matter jurisdiction exists. See, e.g., 28 U.S.C. 1446(b). That statute
             27        provides in relevant part:
             28
                                                                  4
                       DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                       CASE NO.
        Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 85 of 94 Page ID #:126



                1            "The notice of removal of a civil action or proceeding shall be filed
                             within thirty days after the receipt by the defendant, through service or
             2               otherwise, of a copy of the initial pleading setting forth the claim for
                             relief upon which such action or proceeding is based . . . ."
            3

            4                Here, Plaintiff served the Summons and Complaint to the ZOA on March
            5       27, 2013 and Mr. Klein on April 20, 2013. (Glazer Decl. 1f, Exh. A.) As a result,
            6       Defendants filed this Notice of Removal less than thirty (30) days of service of the
            7       Complaint's service. Thus, removal is timely pursuant to 28 U.S.C. section
            8       1446(b).

            9       IV.      CONCLUSION

           10                For the foregoing reasons, removal of this case to federal court is proper.
           11       This Court has original jurisdiction over this matter pursuant to 28 U.S.C. sections
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J
           12       1332(a) and 1441.
2   1


           13

r   <      14       Dated:         April 25, 2013                    HIRSCHFELD KRAEMER LLP
u



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                                                                                  "gory S. Glazer
                                                                                rret
           17                                                                 Alison M. Hamer
                                                              Attoh eys      Defendants
           18                                                 ZIOl :st      LGANIZATION OF AMERICA
                                                              and   OK     )N KLEIN
           19

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                    DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                    CASE NO.
      Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 86 of 94 Page ID #:127



              1
                                                CERTIFICATE OF SERVICE
             2
                   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             3            I am a citizen of the United States and a resident of the State of California,
                   over the age of eighteen years, and not a party to the within action. My business'
          4        address is 233 Wilshire Boulevard, Suite 600, Santa Monica, California 90401. On
                   April 25, 2013,1 served the following document(s) by the method indicated below:
          5
                                       DEFENDANT ZIONIST ORGANIZATION OF
          6                           AMERICA AND MORTON KLEIN'S NOTICE OF
                                       REMOVAL TO FEDERAL COURT UNDER 28
          7                                   U.S.C. § 1441(a); 28 U.S.C. § 1332
                     •       by transmitting via facsimile on this date from fax number (310) 255-0986
          8
                             the document(s) listed above to the fax number(s) set forth below. The
          9                  transmission was completed before 5:00 p.m. and was reported complete
                             and without error. Service by fax was made by agreement of the parties,
         10
                             confirmed in writing. The transmitting fax machine complies with Cal.
         11                  R.Ct 2003(3).
P-,



         12                  by placing the document(s) listed above in a sealed envelope(s) with
s 1
                             postage thereon fully prepaid, in the United States mail at Santa Monica,
         13
X
Q
                             California addressed as set forth below. I am readily familiar with the
         14                  firm's practice of collection and processing correspondence for mailing.
                             Under that practice it would be deposited in the U.S. Postal Service on that
         15
                             same day with postage thereon fully prepaid in the ordinary course of
         16                  business. I am aware that on motion of the party served, service is
                             presumed invalid if postal cancellation date or postage meter date is more
         17
                             than one day after date of deposit for mailing in affidavit.
        18
                    |~1 by placing the document(s) listed above in a sealed envelope(s) and by
        19                   causing messenger delivery of the envelope(s) to the person(s) at the
                             address(es) set forth below. I am readily familiar with the business practice
        20
                             of my place of employment with respect to the collection and processing of
        21                   correspondence, pleadings and notices for hand delivery. On April 25,
                             2013,1 caused to be served via messenger the above-listed documents.
        22
                    f~1      by personally delivering the document(s) listed above to the person(s) at
        23                   the address(es) set forth below.
        24          I | by placing the document(s) listed above in a sealed envelope(s) and
                             consigning it to an express mail service for guaranteed delivery on the next
        25
                             business day following the date of consignment to the address(es) set forth
        26                   below.

        27

        28

                  DEFENDANT'S NOTICE OF REMOVAL TO FEDERAL COURT
                  CASE NO.
     Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 87 of 94 Page ID #:128



         1          Bryan C. Altman
         2          Joel E. Elkins
                    The Altman Law Group
         3          6300 Wilshire Blvd., Ste. 980
         4          Los Angeles, CA 90048
                    Phone: (323) 653-5581
         5          Fax: (323) 653-5542
         6         I declare under penalty of perjury under the laws of the United States that the
             foregoing is true and correct, and that I am employed by an officer of a member of
         7   the bar oi this Court at whose direction the service was made. Executed on
             April 25, 2013 at Santa Monica, California.
         8
                                                                AJu^        Ifr^UA^
         9                                                          Karen Torres

        10

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             DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
             CASE NO.
        Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 88 of 94 Page ID #:129



               1
                                                             PROOF OF SERVICE
            2
                     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
            3                  I, the undersigned, am a resident of the State of California, over the age of eighteen years,
                   and not a party to the within action. My business address is 233 Wilshire Boulevard, Suite 600, '
            4      Santa Monica, California 90401. On April 25, 2013,1 served the following document(s) by the
                   method indicated below:
            5
                          DEFENDANTS ZIONIST ORGANIZATION OF AMERICA AND MORTION
            6              KLEIN'S NOTICE TO STATE COURT AND TO ADVERSE PARTIES RE:
                                    REMOVAL TO U.S. DISTRICT COURT, CENTRAL DISTRICT
            7
                       I"""]      by transmitting via facsimile on this date from fax number (310) 255-0986 the
            8                     document(s) listed above to the fax number(s) set forth below. The transmission was
                                  completed before 5:00 p.m. and was reported complete and without error. Service by
            9                     fax was made by agreement of the parties, confirmed in writing. The transmitting fax
                                  machine complies with Cal. R.Ct 2003(3).
           10
                                  by placing the document(s) listed above in a sealed envelope(s) with postage thereon
           11                     fully prepaid, in the United States mail at Santa Monica, California addressed as set
                                  forth below. I am readily familiar with the firm's practice of collection and processing
           12                     correspondence for mailing. Under that practice it would be deposited in the U.S.
                                  Postal Service on that same day with postage thereon fully prepaid in the ordinary
           13                     course of business. I am aware that on motion of the party served, serviceis presumed
                                  invalid if postal cancellation date or postage meter date is more than one day after date
           14                     of deposit for mailing in affidavit.
I   <

                       | |        by placing the document(s) listed above in a sealed envelope(s) and by causing
          15                      messenger delivery of the envelope(s) to the person(s) at the address(es) set forth
                                  below. I am readily familiar with the business practice of my place of employment
           16                     with respect to the collection and processing of correspondence, pleadings and notices
                                  for hand delivery. On April 25, 2013,1 caused to be served via messenger the above-
          17                      listed documents.

          18           | |        by personally delivering the document(s) listed above to the person(s) at the
                                  address(es) set forth below.
          19           | |        by placing the document(s) listed above in a sealed envelope(s) and consigning it to an
                                  express mail service for guaranteed delivery on the next business day following the
          20                      date of consignment to the address(es) set forth below.

          21
                             Bryan C. Altman
          22                 Joel E. Elkins
                             The Altman Law Group
          23                 6300 Wilshire Blvd., Suite 980
                             Los Angeles, CA 90048
          24
                             Phone:(323)653-5581
          25
                             Fax:(323)653-5542
                            I declare under penalty of perjury under the laws of the State of California that the above
          26       is true and correct. Executed on April 25, 2013, at Santa Monica, California.

          27                                                                   '-i) a'XJ^i,
                                                                                         Karen Torres
          28


                   DEFS' NTOICE TO STATE COURT AND TO ADVERSE PARTIES RE: REMOVAL
                   CASE NO. BC 503861
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 89 of 94 Page ID #:130




                                                  EXHIBIT E
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 90 of 94 Page ID #:131




                           THE ALTMAN LAW GROUP
                                         ATTORNEYS                AT   LAW

                                         S300 WILSHIRE BOULEVARD. SUITE 980

                                         LOS ANCELES,    CALIFORNIA 90048
                                                                                      LSlBlfOfflt
                                            TELEPHONE

                                             FACSIMILE
                                                         (323)

                                                         (323)
                                                                 653-5581

                                                                 653-5542
                                                                                 W
                                                                                       MAR 1 8 2013
                                                                                                         u

                                                                                By.
                                                 March 15,2013



    Via Fedex, Email (gglazer(g)hketnploymentlaw.com) and Fax (310-255-0986)
    Gregory S. Glazer, Esq.
    Hirschfeld Kraemer LLP
    233 Wilshire Boulevard, Suite 600
    Santa Monica, CA 90401

                                   Re:       Orit Arfa - FEHA Claim


    Dear Mr. Glazer:


             We represent Orit Arfa regarding all claims arising from tortious acts perpetrated against
    Ms. Arfa by your client, the Zionist Organization of America ("ZOA"). Based on our own
    comprehensive investigation and review of the work performed by our client, the correspondence
    history and other facts, we have determined that ZOA discriminated against and wrongfully
    terminated Ms. Arfa for speaking up against ZOA's policy of withholding from donors the loss
    of its tax exempt status.

            Our investigation so far has revealed that on several occasions, Ms. Arfa expressed to
    ZOA President Morton Klein and other members of the ZOA Board that, in her opinion,
    withholding the facts that ZOA had lost its tax exempt status and that donations made to the
    Foundation for the Jewish Community (FJC) were not in fact donations to ZOA was at best
    unethical and at worst illegal. Indeed, an opinion letter prepared by outside legal counsel later
    confirmed our client's suspicion that the practice was not only unethical but illegal. (See Seton
    memo listed as Exhibit B to the draft complaint attached hereto). Despite her strongly voiced
    and strong objection, Ms. Arfa was continually pressed to continue her fund-raising efforts as
    dictated by Mr. Klein and ZOA and not to say anything publicly because it would tarnish ZOA's
    reputation and negatively impact fund-raising. She was increasingly harassed by Mr. Klein with
    threatening and abusive telephone calls to her cell phone at all hours of day and night, causing
    her anxiety, sleeplessness and emotional distress. Her conscience and affinity for the principles
    for which ZOA supposedly stands caused her great concern, and she expressed that concern in a
    series of memos to the ZOA leadership. Instead of being commended for her principles and
    desire to protect donors from misrepresentation and the organization from potential liability, she
    was fired.
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 91 of 94 Page ID #:132




     Gregory S. Glazer, Esq.
     March 15,2013
     Page 2


            There is no dispute that Ms. Arfa was doing an amazing job in her position as West Coast
    director, as confirmed by expressions of praise from her constituency, the Board and upper
    management. In the short time that she was at ZOA, Ms. Arfa brought more energy, creativity,
    passion and organizational and managerial skills than all her predecessors had brought to the job.
    The directors of other regions (who happened to be male, and who went along with the coverup
    of the tax-exemption issue during their fund-raising, if they were asked to fund-raise at all)
    maintained their positions despite job performances that could not match that of Ms. Arfa. The
    only plausible explanations for her firing is that management wanted to silence her conscientious
    objections to an unethical and illegal policy, or (hard to believe in this day and age) because she
    is a strong, outspoken woman.

          Once FEHA grants her the right to sue, Ms. Arfa intends to assert claims for, inter alia,
    wrongful termination, gender discrimination and intentional infliction of emotional distress.
    Following the prosecution of her FEHA claims, Ms. Arfa will pursue next her complaint through
    the court system. For your reference, we have attached as well a draft of the claim we will send
    to the California Department of Fair Employment and Housing.

            Based on our review of the enormous amount of documentary evidence showing a clear
    correlation between Ms. Arfa's resistance to promoting illegal activity in which she was
    instructed to participate and her termination, as well as the callousness with which she was
    treated, we believe Ms. Arfa has a strong claim for substantial damages.

            Our client desires to amicably resolve her dispute with ZOA. Our client is willing at this
    time to agree to a one-time payment of three hundred thousand dollars ($300,000.00) to resolve
    this dispute. This is a pre-litigation offer. It will remain open until 5:00 p.m. PST on March 19,
    2013. In the event it becomes necessary to file a lawsuit, any such lawsuit will include, as stated
    above, claims for wrongful termination, gender discrimination and intentional and negligent
    infliction of emotional distress, and unlawful and fraudulent business practices, several of which
    could also trigger a right to an award of exemplary or punitive damages in addition to the
    customary compensatory damages in unlawful termination actions. We may also ask the New
    York Attorney General's Office and the IRS for their help investigating the ZOA's conduct in
    this matter. In the event of a lawsuit, your client may be liable for attorney's fees, as well as
    other costs.


            This communication is part of a confidential settlement discussion. For that reason, all of
    the information contained within this letter is provided for settlement purposes only pursuant to
    California Evidence Code Section 1152.
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 92 of 94 Page ID #:133




    Gregory S. Glazer, Esq.
    March 15,2013
    Page 3


            Nothing in this letter constitutes a complete statement of our clients' rights, contentions,
    or claims. Additionally, nothing stated herein is intended as, nor should it be deemed to
    constitute, a waiver of any of my client's rights or remedies, whether legal or equitable, all of
    which are expressly reserved.

                                                   Very truly yours,


                                                                CafZ~. //*
                                                   Bryan C. Altman
                                                   The Altman Law Group

    BCA/ir
Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 93 of 94 Page ID #:134



    1                             CERTIFICATE OF SERVICE

   2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3
            I am a citizen of the United States and a resident of the State of California,
        over the age of eighteen years, and not a party to the within action. My business
   4
        address is 233 WiTshire Boulevard, Suite 600, Santa Monica, California 90401. On
        April 25, 2013,1 served the following document(s) by the method indicated below:
   5                      DECLARATION OF ALISON M. HAMER IN
                          SUPPORT OF NOTICE OF REMOVAL TO
   6                 FEDERAL COURT UNDER 28 U.S.C. § 1441 (A); 28
                                              U.S.C. § 1332
   7
          [] by transmitting via facsimile on this date from fax number (310) 255-0986
   8           the document(s) listed above to the fax number(s) set forth below. The
   9
               transmission was completed before 5:00 p.m. and was reported complete and
               without error. Service by fax was made by agreement of the parties,
  10           confirmed in writing. The transmitting fax machine complies with Cal. R.Ct
  11
               2003(3).

  12
          13c| by placing the document(s) listed above in a sealed envelope(s) with postage
               thereon fully prepaid, in the United States mail at Santa Monica, California
  13           addressed as set forth below. I am readily familiar with the firm's practice
               of collection and processing correspondence for mailing. Under that practice
  14
               it would be deposited in the U.S. Postal Service on that same day with
  15           postage thereon fully prepaid in the ordinary course of business. I am aware
               that on motion of the party served, service is presumed invalid if postal
  16
               cancellation date or postage meter date is more than one day after date of
  17           deposit for mailing in affidavit.
  18      i~| by placing the document(s) listed above in a sealed envelope(s) and by
               causing messenger delivery of the envelope(s) to the person(s) at the
  19
               address(es) set forth below. I am readily familiar with the business practice
  20           of my place of employment with respect to the collection and processing of
               correspondence, pleadings and notices for hand delivery. On April 25, 2013,
  21
               I caused to be served via messenger the above-listed documents.
  22
          f~1 by personally delivering the document(s) listed above to the person(s) at the
  23           address(es) set forth below.

  24      |~1 by placing the document(s) listed above in a sealed envelope(s) and
               consigning it to an express mail service for guaranteed delivery on the next
  25           business day following the date of consignment to the address(es) set forth
  26           below.

  27

  28

        DECLARATION OF G. GLAZER ISO REMOVAL TO FEDERAL COURT
        CASE NO.
          Case 2:13-cv-02942-ABC-SS Document 1-1 Filed 04/25/13 Page 94 of 94 Page ID #:135



              1          Bryan C. Altman
             2           Joel E. Elkins
                         The Altman Law Group
             3           6300 Wilshire Blvd., Ste. 980
             4           Los Angeles, CA 90048
                         Phone:(323)653-5581
             5           Fax: (323) 653-5542
             6          I declare under penalty of perjury under the laws of the United States that the
                  foregoing is true and correct, and that 1 am employed by an officer of a member of
             7    the bar of this Court at whose direction the service was made. Executed on
                  April 25, 2013 at Santa Monica, California.
             8

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                                                                          Karen Torres
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                  DECLARATION OF G. GLAZER ISO REMOVAL TO FEDERAL COURT
                  CASE NO.
